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                                                                            1876


    1                         UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK
    2
        - - - - - - - - - - - - - - X
    3
         UNITED STATES OF AMERICA,          :   09-CR-00466(BMC)
    4                                       :
                                            :
    5                                       :
                  -against-                 :   United States Courthouse.
    6                                       :   Brooklyn, New York.
                                            :
    7                                       :
                                            :   Monday, December 3, 2018
    8    JOAQUIN ARCHIVALDO GUZMÁN          :   9:30 a.m.
         LOERA,                             :
    9                                       :
                    Defendant.              :
   10
        - - - - - - - - - - - - - - X
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   12
                      TRANSCRIPT OF CRIMINAL CAUSE FOR TRIAL
   13                  BEFORE THE HONORABLE BRIAN M. COGAN
                     UNITED STATES DISTRICT JUDGE, and a jury
   14

   15
                                 A P P E A R A N C E S:
   16
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                        SAM       OCR      RMR      CRR      RPR
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    1                        A P P E A R A N C E S:                 (Continued)

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   25   P r oc e e d in g s re c o rd e d by c o mp u t e ri z e d s t e n og r a ph y .   T r a n sc r i p t
        p r od u c e d b y Co m p ut e r - ai d e d T r a n sc r i p ti o n .



                              SAM           OCR          RMR         CRR          RPR
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                                         Proceedings                        1878


    1               (In open court - jury not present.)

    2               (Witness resumes the stand.)

    3               THE COURTROOM DEPUTY:      All rise.

    4               (Judge BRIAN M. COGAN enters the courtroom.)

    5               (Defendant enters the courtroom.)

    6               THE COURT:    Good morning.

    7               THE WITNESS:    Good morning.

    8               THE INTERPRETER:      Good morning.

    9               THE COURT:    With regard to this weekend's motions, I

   10   have read them.     I think I understand them.       I think the best

   11   way to proceed is just, now that I am educated, let it come

   12   out during the testimony.        We may have a different record than

   13   Judge Leon had, I think we probably will, and we will talk

   14   about it when we get to that point.

   15               All right, let's have the jury, please.

   16               (Pause.)

   17               (The jury enters the courtroom.)

   18               THE COURT:    Everyone be seated, please.

   19               Good morning, ladies and gentlemen.

   20               THE JURY:    Good morning.

   21               THE COURT:    I hope you had a good weekend.       We will

   22   continue with direct examination.

   23               MS. GOLDBARG:    Thank you, Your Honor.

   24

   25               (Continued on the following page.)



                        SAM        OCR       RMR       CRR   RPR
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                               Ramirez - direct - Goldbarg                  1879


    1   J U A N     C A R L O S     R A M I R E Z      A B A D I A,

    2         previously called as a witness by the Government, having

    3         been previously duly sworn/affirmed, was examined and

    4         testified further as follows:

    5   DIRECT EXAMINATION

    6   BY MS. GOLDBARG:

    7   Q     Mr. Ramirez, when you testified on Thursday, there were a

    8   couple of issues I wanted to follow up with you on.

    9               Showing you what's in evidence that's Government's

   10   Exhibit 510-1.

   11               (Exhibit published.)

   12   Q     Do you recall, Mr. Ramirez, that you testified that you

   13   paid the defendant and The Sinaloa Cartel a percentage to

   14   transport your cocaine from Mexico to Los Angeles?

   15   A     Correct.

   16   Q     Can you please tell the members of the jury during what

   17   timeframe this investment or payment structure was in place?

   18   A     It took place between 1990 to 1998.

   19   Q     You also testified that, at your first meeting with the

   20   defendant, he informed you that he would be charging you

   21   40 percent to transport your cocaine.

   22               Do you recall that?

   23   A     Correct.

   24   Q     And that the other Mexican traffickers were charging you

   25   less than that?



                         SAM       OCR     RMR      CRR      RPR
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                              Ramirez - direct - Goldbarg                   1880


    1   A     That's correct.

    2   Q     Why were you willing to pay the defendant more to

    3   transport your cocaine?

    4   A     Because, at that time, he was the best and he was the

    5   quickest and that was the argument he presented to me to

    6   charge me more than the other Mexican drug traffickers.

    7   Q     You also mentioned that the defendant provided you with a

    8   mold in a cylindrical shape.

    9                Do you recall that testimony?

   10   A     Yes, correct.

   11   Q     And you made a motion with your hand.

   12                Could I ask you to repeat that so I could describe

   13   it for the record, please?

   14   A     Yes.   It was like a can, like a food can.

   15                MS. GOLDBARG:    So, let the record reflect that he is

   16   making a round shape with his hands about 6 to 7 inches wide.

   17                THE WITNESS:    Correct.

   18   BY MS. GOLDBARG:

   19   Q     You also testified as to various brands that you would

   20   mark your cocaine with.

   21                Do you recall which were the two most popular

   22   brands?

   23   A     Yes.   Reina, Metro, Clinton, the dollar sign.

   24   Q     Thank you.

   25                Now, you also testified that on your trip to Mexico,



                        SAM         OCR    RMR     CRR       RPR
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                              Ramirez - direct - Goldbarg                   1881


    1   when you met the defendant, you were there for approximately

    2   two months.

    3                Do you recall that?

    4   A     Yes.

    5   Q     Was that your first trip to Mexico?

    6   A     No.

    7   Q     You also testified that you were already sending cocaine

    8   to Mayo Zambada.

    9                Do you recall that?

   10   A     That's correct.

   11   Q     So, on your trip to Mexico when you meet the defendant in

   12   approximately 1990, who else are you already sending your

   13   cocaine to in Mexico?

   14   A     I was sending it to the Arellano-Felix brothers, to

   15   Mr. Mayo Zambada, to the Carrillo-Fuentes brothers, mainly.

   16   Q     Anyone else?

   17   A     Rafael Aguilar Guajardo and Guero Palma.

   18   Q     Showing you what's in evidence as Government Exhibit 8.

   19                (Exhibit published.)

   20   Q     Who is that?

   21   A     That's Guero Palma.

   22   Q     Also showing you what's in evidence as Government

   23   Exhibit 9.

   24                (Exhibit published.)

   25   Q     Who is that?



                        SAM       OCR       RMR    CRR       RPR
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                               Ramirez - direct - Goldbarg                  1882


    1   A     Amado Carrillo-Fuentes.

    2   Q     And showing you what's in evidence as Government's

    3   Exhibit 10.

    4                (Exhibit published.)

    5   Q     Who is that?

    6   A     Vicente Carrillo-Fuentes, Viceroy.

    7   Q     Now, during this trip to Mexico when you met the

    8   defendant, did the defendant take you or introduce you to

    9   anyone else during this trip?

   10   A     Correct.

   11   Q     Who did the defendant introduce you to during this trip?

   12   A     The Beltran Leyva brothers.

   13   Q     Did the defendant tell you why he was introducing you to

   14   the Beltran Leyva brothers?

   15   A     Yes, he told me they were his cousins, they were his

   16   people.

   17   Q     What did you understand the defendant to mean when he

   18   said they were his people?

   19   A     It was people who belonged to The Sinaloa Cartel

   20   organization and who worked with him.

   21   Q     Did the defendant tell you what he wanted you to do with

   22   the Beltran Leyva brothers?

   23   A     Yes.

   24   Q     What did the defendant tell you?

   25   A     To send them airplanes, too, to help them out and send



                         SAM       OCR      RMR    CRR       RPR
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                               Ramirez - direct - Goldbarg                  1883


    1   them airplanes with cocaine from Colombia.

    2   Q     Did you, in fact, meet the Beltran Leyva brothers?

    3   A     Correct.

    4   Q     Who did you meet with?

    5   A     With Hector, Arturo and Alfredo.

    6   Q     Showing you what's in evidence as Government's Exhibit 5.

    7               (Exhibit published.)

    8   BY MS. GOLDBARG:

    9   Q     Who is that?

   10   A     That's Hector Beltran Leyva, El Elegante.

   11   Q     Showing you what's in evidence as Government's Exhibit 4.

   12               (Exhibit published.)

   13   Q     Who is that?

   14   A     Arturo Beltran Leyva, El Barbas.

   15   Q     Showing you what's in evidence as Government's

   16   Exhibit 31.

   17               (Exhibit published.)

   18   Q     Who is that?

   19   A     Alfredo Beltran Leyva, El Mochomo.

   20   Q     Sir, did you agree to send cocaine to the Beltran Leyva

   21   brothers as well?

   22   A     That's correct.

   23   Q     And in these meetings with the Beltran Leyvas, did you

   24   have any discussions with them about the logistics of sending

   25   cocaine?



                         SAM       OCR     RMR     CRR       RPR
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                                Ramirez - direct - Goldbarg                 1884


    1   A      Correct.

    2   Q      Did you notice any similarities in what they were telling

    3   you?

    4   A      Yes.

    5   Q      What was that?

    6   A      Well, many times they were using the same airstrips in

    7   the same states.

    8   Q      The same airstrips in the same states as whom?

    9   A      As the ones Mr. Guzmán Loera told me we were going to

   10   use.

   11   Q      Did the Beltran Leyvas propose to you anything about the

   12   landing strips?

   13   A      Yes, they told me to send them a pilot to inspect the

   14   airstrip in Nayarit.

   15   Q      Did you discuss this proposal with the defendant?

   16   A      Yes.

   17   Q      And what did the defendant tell you?

   18   A      He told me that the airstrip that the Beltran Leyvas were

   19   going to use in Nayarit, that my pilot had inspected, was one

   20   of the ones we were going to use.

   21   Q      When you say "we," who are you referring to?

   22   A      Well, we were -- we were going to use my pilots with my

   23   cocaine with Mr. Guzmán Loera.

   24   Q      Did you, in fact, send your pilot to inspect the landing

   25   strip?



                          SAM       OCR     RMR    CRR        RPR
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                             Ramirez - direct - Goldbarg                 1885


  1   A     Yes.

  2   Q     During this same trip to Mexico, did the defendant take

  3   you to meet with anyone else?

  4   A     Correct.

  5   Q     Who did he take you to meet with?

  6   A     Mayo Zambada.

  7   Q     Did the defendant tell you why he was taking you to meet

  8   with Mayo Zambada?

  9   A     I already knew him.        He only said let's go, let's go talk

10    to my compadre, Mayo.

11    Q     And did you have the meeting with Mayo?

12    A     Yes.

13    Q     Who was present at this meeting?

14    A     Mr. Guzmán Loera, Mayo Zambada and me.

15    Q     Where did this meeting take place?

16    A     In a hotel room in Mexico City.

17    Q     How did this conversation between yourself, Mayo and the

18    defendant start?

19    A     Well, Mr. Mayo Zambada told me:       Well, I already

20    separated from the Arellano-Felix and now I'm with my

21    compadre, Mr. Guzmán Loera.        We have problems with the

22    Arellano-Felixes and we wanted to let you know that.

23    Q     What, if anything, did the defendant say during this

24    meeting?

25    A     Well, we spoke about Guero Palma.        He told me:   I know



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                            Ramirez - direct - Goldbarg                   1886


  1   you're sending airplanes to Guero Palma.         He said, You can

  2   continue doing that, that's my people.        And he was saying all

  3   these nice things about Guero Palma, saying that he was a very

  4   courageous man and that he was at the war with the

  5   Arellano-Felix.

  6   Q       When the defendant said that Guero Palma was part of his

  7   people, what did you understand that to mean?

  8   A       That he belonged to The Sinaloa Cartel, that they worked

  9   together.    They had business together.

10    Q       And when the defendant told you that Guero Palma was at

11    the front of the confrontation with the Arellano-Felixes, what

12    did you understand that to mean?

13    A       That he was a man who was close to him, in fact they were

14    compadres, and that he was at the front.         He was fighting that

15    war that they had going on with the Arellano-Felixes at the

16    time.

17    Q       Just to clarify for the record, when you say "he," who

18    are you referring to?

19    A       Mr. Guzmán Loera told me that he, and that he is Guero

20    Palma.

21    Q       Thank you.

22                 When you had this meeting with the defendant Mayo

23    Zambada at this hotel, at that moment, who were you sending

24    cocaine to or who was receiving your cocaine in Mexico?

25    A       Mr. Mayo Zambada, previously with the Arellano-Felixes,



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                            Ramirez - direct - Goldbarg                  1887


  1   the Carrillo-Fuentes brothers and Guero Palma.

  2   Q     Did either the defendant or Mayo Zambada say anything

  3   about your cocaine shipments and how it would be impacted by

  4   this confrontation with the Arellano-Felixes?

  5   A     Not really.

  6   Q     What do you mean by that?

  7   A     It's not like he said hey, you have to work with us and

  8   stay away from the Arellano-Felixes.

  9   Q     What did they say to you?

10    A     They explained the situation that was going on, that

11    Mr. Mayo Zambada was no longer with the Arellano-Felixes, and

12    that there was a problem between The Sinaloa Cartel and the

13    Arellano-Felixes.     That was it, basically.

14    Q     Would this conflict have any impact on your cocaine

15    shipments that you were aware of?

16    A     That was my intuition at the time, that's what I thought.

17    Q     What was that based on?

18    A     Well, in my own experience as a drug trafficker, because

19    I knew that when there are wars many times people are ratting

20    on each other, people are stealing each other's merchandise,

21    or if one of the drug traffickers died and my cocaine would be

22    in danger, it could be lost.       For example, if the

23    Arellano-Felixes got killed.

24    Q     As a result of this meeting, what decision did you make?

25    A     Well, I made the decision of not sending any more cocaine



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                             Ramirez - direct - Goldbarg                 1888


  1   to the Arellano-Felixes.

  2   Q     Why did you make that decision?

  3   A     Well, because I saw that The Sinaloa Cartel people were

  4   stronger, there were more people in it, more -- and they were

  5   all united in that problem against the Arellano-Felixes.

  6   Q     And when you refer to The Sinaloa Cartel, who

  7   specifically are you referring to at this time?

  8   A     Mr. Guzmán Loera, Mr. Guero Palma, Mayo Zambada and his

  9   brother Rey, the Beltran Leyvas.

10    Q     Now, while you are in Mexico on this trip when you reach

11    an agreement with the defendant, do you immediately start

12    sending the defendant cocaine?

13    A     Not immediately.

14    Q     Why not?

15    A     Because I was in Mexico for approximately two months,

16    with the expectation of sending them my airplanes from

17    Colombia with my cocaine, but we were having these

18    conversations like yes, but Mr. Guzmán Loera, his brother

19    El Pollo and Gordo, they told me they were waiting for

20    authorization for permission from the capital to be able to

21    receive my airplanes with the cocaine.

22    Q     When the defendant tells you that he is waiting to

23    receive permission from the capital, what did you understand

24    that to mean?

25    A     The corruption arrangement they had with the Mexican



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                            Ramirez - direct - Goldbarg                  1889


  1   government in order to be able to receive my planes with the

  2   cocaine and have them being safe.

  3   Q     So what did you do, did you stay in Mexico?

  4   A     I waited for a while, approximately two months.

  5   Q     And at the end of those two months, what did you do?

  6   A     I went back to Colombia because we weren't able to

  7   solidify that shipment while I was there.

  8   Q     Did you leave anyone in Mexico running your business?

  9   A     Yes.

10    Q     Who was that?

11    A     I left Sergio Ramirez, Pechuga, there at that time.

12    Q     Showing you what's in evidence as Government Exhibit 84,

13    just to remind the jury.

14                 (Exhibit published.)

15    BY MS. GOLDBARG:

16    Q     Who is that?

17    A     That's Sergio Ramirez, Pechuga, my lieutenant in Mexico

18    at the time.

19    Q     Now, on Thursday you testified about the first shipment

20    that you sent to the defendant, that it contained 4,000 kilos

21    and that it was carried in five planes.

22                 Do you recall that?

23    A     Yes.

24    Q     Going back to Government Exhibit 510-1.

25                 (Exhibit published.)



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                               Ramirez - direct - Goldbarg                  1890


  1   BY MS. GOLDBARG:

  2   Q       For this first shipment of cocaine that you sent to the

  3   defendant, the 4,000 kilos, how much did you pay the defendant

  4   to transport your kilos from Mexico to the United States?

  5   A       I paid him 40 percent of that 4,000 kilo shipment; that

  6   is, he kept 40 percent of my cocaine as payment to transport

  7   it to the United States.

  8   Q       So I am going to ask you to do a little bit of math.

  9   A       Correct.

10    Q       How many kilos of cocaine did you give the defendant to

11    transport your shipment from Mexico Los Angeles?

12    A       Sixteen hundred kilos of cocaine.

13    Q       And what happened to the remaining twenty-four

14    hundred kilos of cocaine -- sorry, 2,400?

15    A       That cocaine of mine was delivered in Los Angeles.        I

16    received it there, and later on I transported it to New York.

17    Q       I just want to clarify, Mr. Ramirez.

18                  You were not in the United States at this time, were

19    you?

20    A       No.

21    Q       So when you said "I received it," what do you mean by

22    that?

23    A       I was referring to the fact that my lieutenants in Los

24    Angeles received it.        They were working for me.

25    Q       And when you said that you transported it from Los



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                            Ramirez - direct - Goldbarg                  1891


  1   Angeles to New York, what do you mean by that?

  2   A     It's the same thing, the transport, the lieutenants that

  3   did the transport worked for me.         I was the one who ordered

  4   them to transport it.      That's why I said I received it and I

  5   transported it through my lieutenants.

  6   Q     You also testified on Thursday that it took about a week,

  7   or less than a week, for the defendant to transport these

  8   kilos to Los Angeles.

  9               Do you recall that?

10    A     That is correct.

11    Q     At this time, around 1990, what infrastructure did you

12    have in New York?

13    A     I had an infrastructure with houses and people to receive

14    said cocaine that was coming from Los Angeles.         Then I also

15    had another different infrastructure separated from the

16    previous one with houses, people to be able to gather to

17    collect the money from the sale of that cocaine in the streets

18    of New York and then send it to Colombia.

19    Q     What specific areas did you have these houses in

20    New York?

21    A     Mainly in Queens and Long Island.

22    Q     At this time, how much were you selling a kilo of cocaine

23    for in New York?

24    A     It ranged.      There was an average between $20,000 and

25    $30,000 per kilo of cocaine.



                      SAM        OCR     RMR      CRR     RPR
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                             Ramirez - direct - Goldbarg                 1892


  1   Q     What was the maximum amount you recall selling your

  2   cocaine for in New York?

  3   A     Thirty-three thousand, thirty-four thousand per kilo of

  4   cocaine at most -- as an average, at most.

  5   Q     Did you play any role in setting the price for how much

  6   cocaine would be sold in New York?

  7   A     Yes.

  8   Q     Could you explain that to the jury?

  9   A     Yes.   When I received the cocaine in New York, many times

10    I would stash it, so that way the price would go up because

11    there would be less cocaine in the streets.         And, in that

12    sense, I controlled the price of cocaine because being less

13    cocaine in the streets, the price would go up, and then I

14    would put my cocaine out to have more bigger profits.

15    Q     And, again, when you say you received, you're referring

16    to your organization, correct?

17    A     Correct.

18    Q     So the sixteen hundred kilos that you paid the defendant

19    to transport your cocaine, if it was sold at the lower end of

20    the New York price of $20,000 a kilo, how much would that mean

21    for the defendant?

22    A     Well, you would have to multiply sixteen hundred kilos

23    times $20,000.

24    Q     Would it be fair to say that that's $32 million?

25    A     That is correct.



                       SAM       OCR     RMR     CRR       RPR
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                            Ramirez - direct - Goldbarg                  1893


  1   Q     Now, you testified on Thursday that you went to jail in

  2   Colombia in around 1996.

  3              Do you recall that?

  4   A     That's correct.    That's correct.

  5   Q     From approximately 1990, when you started sending cocaine

  6   to the defendant until you went to jail in Colombia in 1996,

  7   approximately how many kilos of cocaine do you believe you

  8   sent to Mexico during that timeframe?

  9   A     Some 200 tons, 200,000 kilos of cocaine I personally, I

10    sent to The Sinaloa Cartel, to everyone who was there

11    receiving cocaine from me at that time.

12    Q     Could you estimate, of that 200,000 kilos, how much you

13    paid the defendant specifically to transport your cocaine to

14    the United States?

15    A     Well, at that time, Mr. Guzmán Loera transported

16    around -- between 80 to 90,000 kilos of cocaine for me.           So if

17    we make that calculation based on 80,000 kilos of cocaine, and

18    we are taking 40 percent of that, so it would be 40 percent of

19    80,000 kilos of cocaine, which would be 32,000 kilos of

20    cocaine.

21    Q     And if those 32,000 kilos of cocaine were sold at the

22    lower end of the New York price of $20,000, how much money

23    would that be?

24    A     That would be 32,000 kilos times $20,000.

25    Q     Would that be -- let's see if my math is right --



                      SAM       OCR      RMR     CRR      RPR
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                             Ramirez - direct - Goldbarg                 1894


  1   $640 million?

  2   A     Two times three is six -- yes.       Yes, that is correct.

  3   $640 million.

  4   Q     And of the cocaine that The Sinaloa Cartel transported to

  5   you to the United States, where did the vast majority of that

  6   cocaine end up in the United States?

  7   A     It ended up here in New York, in the streets of New York.

  8   Q     Did 100 percent of the cocaine that The Sinaloa Cartel

  9   cartel transported for you end up here in New York?

10    A     Not 100 percent.

11    Q     What percentage?

12    A     At the least, at the very least, 90 percent of the

13    cocaine ended up here in New York.       More or less 90 percent.

14    Q     And the other 10 percent, where was that being sold?

15    A     Many times I would sell it myself in Los Angeles, itself.

16    Q     When you say yourself, are you referring to your workers

17    in Los Angeles?

18    A     Correct.    I am always referring to my lieutenants, but

19    since the cocaine was mine, it belonged to me, that's why I

20    said I, I sold it.

21    Q     Once you started sending the cocaine to the defendant for

22    him to transport it to the United States, did you start having

23    problems with any of those deliveries?

24    A     Yes.

25    Q     Approximately when was this?



                       SAM       OCR     RMR     CRR       RPR
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                            Ramirez - direct - Goldbarg                  1895


  1   A     That was approximately towards the end of 1990, beginning

  2   of 1991, approximately.

  3   Q     What were some of the problems that you were having?

  4   A     Well, that the cocaine that was being delivered to me in

  5   Los Angeles, mainly in Los Angeles, was arriving there some

  6   cocaine that was not my brand -- my brand was arriving there,

  7   cocaine that not being my brand, my cocaine, wasn't the same

  8   quality of the cocaine that I was sending.         Many times it

  9   would be powdery and broken, in a bad state, or missing part

10    of the kilo, not -- not the complete kilo.         And we had also

11    suffered some seizures at the border when crossing the

12    cocaine.

13               So there was not enough information, not enough

14    clarity about these issues, because being a brand different

15    than the one I was sending, you know, I was sending a specific

16    brand and the seizures sometimes cocaine that was not mine was

17    taken.

18    Q     How did you learn about these problems?

19    A     From my lieutenants, who were receiving the cocaine in

20    Los Angeles; and also my lieutenants in New York, who were

21    receiving the cocaine to distribute it in the streets of

22    New York; and the clients, themselves, those who purchased the

23    cocaine, they were complaining because of the quality and

24    because of what I explained to you.

25               THE COURT:     I am going to ask the witness to move up



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                            Ramirez - direct - Goldbarg                  1896


  1   a little bit in his chair a little closer to the interpreter.

  2                All right, continue, please.

  3                MS. GOLDBARG:   Thank you, Your Honor.

  4   BY MS. GOLDBARG:

  5   Q       How frequently were you communicating with your

  6   lieutenants in Los Angeles, New York and Mexico during this

  7   time?

  8   A       All the time.   I was in touch with them throughout the

  9   week -- oh, constantly.

10    Q       When these problems start arising, what did you do?

11    A       I traveled to Mexico.

12    Q       When was this, approximately?

13    A       That was towards the end of 1990, beginning of 1991

14    approximately.

15    Q       And during this trip to Mexico, how long were you there?

16    A       I would always stay there for two months, approximately.

17    Q       Who did you meet with on this trip to discuss the

18    problems you were having about the state of your cocaine?

19    A       I met with the members of The Sinaloa Cartel to whom I

20    was sending said cocaine.

21    Q       Specifically, who did you meet with on this trip?

22    A       I got together with Mr. Guzmán Loera; his brother Arturo

23    Guzmán, Pollo; Mr. Guzmán's lieutenant, El Gordo; and I also

24    met the Beltran Leyva brothers; with Mayo Zambada; with

25    Carrillo-Fuentes brothers; and with Nacho Coronel.



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                            Ramirez - direct - Goldbarg                  1897


  1   Q     Who was Nacho Coronel?

  2   A     Nacho Coronel was another member of The Sinaloa Cartel to

  3   whom I was sending my cocaine from Colombia to Mexico.           He was

  4   receiving my cocaine in Mexico and he was transporting my

  5   cocaine to the United States.

  6   Q     Approximately when did you meet Nacho Coronel?

  7   A     In 1990, approximately.

  8   Q     And what was your understanding of his role within The

  9   Sinaloa Cartel?

10    A     He was another member of The Sinaloa Cartel.         He had his

11    own logistics to receive my cocaine and then to transport it

12    to the United States, where it was delivered to my

13    lieutenants.    Mainly that.    Mainly the same dealings that I

14    had with the other members of The Sinaloa Cartel at the time.

15    Q     I am showing you what's in evidence as Government

16    Exhibit 7.

17                 (Exhibit published.)

18    BY MS. GOLDBARG:

19    Q     Do you recognize who that is?

20    A     Yes, that is Mr. Nacho Coronel.

21    Q     So let's go back to the meeting that you had with the

22    defendant to discuss these problems.        Who specifically was

23    present when you met with the defendant?

24    A     Mr. Guzmán Loera, his brother Arturo, his lieutenant

25    El Gordo, my lieutenant Sergio Ramirez, and myself.



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                            Ramirez - direct - Goldbarg                  1898


  1   Q     Just to refresh your recollection, in evidence Government

  2   Exhibit 3.

  3                (Exhibit published.)

  4   Q     Who is that?

  5   A     That is Arturo Guzmán Loera, El Pollo.

  6   Q     Showing you what's in evidence as Government Exhibit 73.

  7                (Exhibit published.)

  8   Q     Who is that?

  9   BY MS. GOLDBARG:

10    A     That's El Gordo.

11    Q     What did you discuss with the defendant at this meeting?

12    A     Well, I spoke to him about the problems that I was having

13    with my cocaine that I was sending -- sending to him from

14    Colombia to Mexico.     And I told him that my people, my

15    lieutenants in Los Angeles and New York were complaining about

16    the fact that they were not receiving the brand of cocaine

17    that I would usually send, bad quality cocaine on many

18    occasions, really yellowish, powdery, broken up and sometimes

19    with not the complete kilo.

20    Q     Did you discuss any of the seizures that you had?

21    A     Yes, correct.    We also spoke about that, based on the

22    Indictments that they would show it to me to support the

23    seizures of cocaine in the United States.

24    Q     When you say "they" would show you Indictments, who

25    specifically are you referring to?



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                            Ramirez - direct - Goldbarg                  1899


  1   A     Well, during that meeting I'm referring myself now, to

  2   Mr. Guzmán Loera, El Pollo, and El Gordo.

  3   Q     Who actually physically handed you the indictments?

  4   A     El Gordo.

  5   Q     And what were these documents?

  6   A     They were Indictments that showed the seizure of cocaine

  7   in the United States.     That's what an Indictment was, a

  8   support -- a proof of the seizure that we had suffered at the

  9   hands of the American authorities in the United States.

10    Q     When you discussed these problems, what, if anything, did

11    the defendant respond?

12    A     Well, he told me, Mr. Guzmán Loera told me that the

13    problem was with those people who crossed the cocaine, the

14    people they had at the border to cross the cocaine into the

15    United States.

16    Q     Did you make any proposals to the defendant to resolve

17    these problems?

18    A     Yes.

19    Q     What was this proposal?

20    A     I told him I was going to send some people of mine from

21    Colombia to have one of my people be at the landing strip at

22    the moment that the cocaine arrived at the landing strip.           So

23    one of my people would be there right at the moment the

24    cocaine arrived.

25    Q     Did you propose to put any of your workers other places



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                            Ramirez - direct - Goldbarg                  1900


  1   in Mexico?

  2   A     Yes.

  3   Q     Where else?

  4   A     I told them, if possible, I would like to place them on

  5   the border, so that when they were crossing my cocaine over

  6   they would know about it and there would be clarity about my

  7   cocaine that was going through at the time.

  8   Q     What do you mean by clarity?

  9   A     Clarity means that the cocaine that was going through at

10    the time, through the border, would be my brand, it would be

11    my cocaine, and to make sure that my shipments were going

12    through.     Because there were other Mexican -- there were other

13    Mexican drug traffickers who were also sending cocaine to

14    Mr. Guzmán and that's what was happening.         There was confusion

15    with the brands.

16    Q     So, in addition to having your workers at the landing

17    strips and at the border, did you request to have your workers

18    anywhere else in Mexico?

19    A     Yes.

20    Q     Where else?

21    A     They would also, on occasion, go to the warehouses, the

22    ranches, warehouse, to inspect my cocaine and that's where

23    Mr. Guzmán Loera and The Sinaloa Cartel people would store it.

24    Q     Did the defendant accept your terms?

25    A     Yes.



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                             Ramirez - direct - Goldbarg                   1901


  1   Q     Did you have a similar conversation with the other

  2   members of The Sinaloa Cartel about these problems?

  3   A     Correct.

  4   Q     Who did you specifically meet with to discuss this?

  5   A     With the Beltran Leyva brothers, with Nacho Coronel, with

  6   Mayo Zambada and with the Carrillo-Fuentes brothers.

  7   Q     And did they agree to your proposal?

  8   A     Yes.

  9   Q     Did you, in fact, start sending your workers to these

10    various locations in Mexico?

11    A     Yes.

12    Q     How frequently would your workers report back to you?

13    A     Weekly.

14    Q     What would they tell you?

15    A     Well, they would inform me.        For example, when I sent

16    airplanes from Colombia to the airstrips in Mexico, after

17    Mr. Guzmán Loera and The Sinaloa Cartel people received my

18    airplanes with the cocaine, they would report to me.          They

19    would say the planes arrived fine, we have the sacks of

20    cocaine, we made sure that what the brand was, there was only

21    one brand, and that was referring to the airstrips where my

22    cocaine was arriving at those airstrips, for example.

23

24                 (Continued on the following page.)
25



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                           Goldbarg - direct - Ramirez                   1902


  1   DIRECT EXAMINATION

  2   BY MS. GOLDBARG:      (Continuing)

  3   Q     On this trip to Mexico, did the defendant propose any new

  4   landing strips for you?

  5   A     Yes.

  6   Q     What did he propose to you?

  7   A     He told me he had a very good airstrip in Durango that

  8   was paved and he said he had very good arrangements there and

  9   that my planes and my cocaine could be secure.

10    Q     Did the defendant offer you anything?

11    A     Yes.

12    Q     What did he offer you?

13    A     Well, he told me to send a pilot to inspect the airstrip

14    because it was in the sierras, in the mountains, and that way

15    they could recognize the airstrip when they saw it.

16    Q     Did you send one of your pilots to inspect the landing

17    strip in Durango?

18    A     Yes.

19    Q     Did you, in fact, start sending cocaine to this landing

20    strip in Durango?

21    A     Correct.

22    Q     How many times did you send cocaine to this landing

23    strip?

24    A     Twice.

25    Q     Was there a problem with the landing strip?



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                           Goldbarg - direct - Ramirez                   1903


  1   A     Yes.

  2   Q     What was the problem?

  3   A     Well, my pilots on the second trip, well, there was a lot

  4   of fog and it was all covered up.       It was covering the

  5   airstrip and you couldn't see it.       So the airplanes arrived

  6   and since it was covered, they started flying around and

  7   around it.    They were using up the fuel and they almost got

  8   killed, but at the end, the fog cleared up on the airstrip and

  9   they were able to land, so that was the problem.

10    Q     Did you discuss this with the defendant?

11    A     Yes.

12    Q     What did the defendant say?

13    A     Well, he said that the airstrip was very good and that

14    other fellow countrymen of mine, and by fellow countrymen, he

15    meant other Colombian drug traffickers who were arriving there

16    no problem.    And he said he had very good arrangements there

17    for me, to go for it, to keep going there, sending my

18    airplanes there --

19                 THE INTERPRETER:   Interpreter correction.

20    A     -- to keep sending my airplanes there.

21    Q     Did you continue to use a specific landing strip in

22    Durango, this one that you just discussed?

23    A     No, I didn't keep using it.      After that second trip, my

24    pilots refused to go back there.

25    Q     Did you keep sending cocaine to the Sinaloa Cartel using



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                           Goldbarg - direct - Ramirez                   1904


  1   airplanes during this time?

  2   A     That's correct.

  3   Q     Did there come a time that you started having problems

  4   with your planes in Mexico?

  5   A     Yes.

  6   Q     What were those problems?

  7   A     Well, several problems.      My planes coming from Colombia

  8   were arriving at the landing strips in Mexico, and they were

  9   being followed by an American airplane that had sort of like a

10    big plate over it.

11    Q     How do you know this?

12    A     I know it because of my lieutenants on the landing strip

13    and my pilots.

14    Q     What other problems were you having with the planes that

15    you were sending to Mexico?

16    A     Well, also when they returned to Colombia after leaving

17    the cocaine shipment in Mexico, when they arrived in Colombia,

18    they were being followed by the Colombian Air Force planes,

19    and they actually brought down one of my planes.          And I also

20    had seizures in Mexico of my airplanes and several tons of my

21    cocaine because of this situation that was going on with the

22    airplanes.

23    Q     As a result of these problems that you were having, what

24    decision did you make?

25    A     Well, I decided to travel to Mexico.



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                           Goldbarg - direct - Ramirez                   1905


  1   Q     Before you went to Mexico, what decision did you make

  2   about the way you would transport your cocaine to Mexico?

  3   A     Change methods of sending my cocaine to the Sinaloa

  4   Cartel people.

  5   Q     What was the new method?

  6   A     Well, what I thought about at the time was to send

  7   fishing boats from Colombia with my cocaine.

  8   Q     Approximately when was this?

  9   A     That was approximately end of '91, beginning of '92.

10    Q     And you just testified that you went to Mexico.

11    Approximately, when did you go to Mexico?

12    A     Approximately that same timeframe.

13    Q     So that would be 1991, 1992?

14    A     End of '91, beginning of '92, approximately.

15    Q     When you went to Mexico, who did you meet with?

16    A     Initially I met with Mr. Guzmán Loera, his brother El

17    Gordo, Pollo, and with the Beltran Leyvas.

18    Q     What did you specifically discuss in this meeting with

19    the defendant, Pollo, Gordo, and the Beltran Leyva brothers?

20    A     So I told them that I had a proposal to send my cocaine

21    in fishing boats through the Pacific and that there was going

22    to be no problem because nobody had used this method; it was a

23    virgin method.

24    Q     Did you discuss any of the logistics of how this maritime

25    transportation would work?



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                           Goldbarg - direct - Ramirez                   1906


  1   A     Correct.

  2   Q     What did you discuss with the defendant and the rest of

  3   the people at this meeting?

  4   A     I told them I would send them one boat with my cocaine

  5   from Colombia through the Pacific and that I felt so sure

  6   about that method that the first time we were going to place

  7   10,000 kilos of cocaine, that was going to be 10,000 kilos of

  8   my cocaine, and I would bring my boat as close as I could to

  9   the Mexican coastline, that they had to get some chalupas.

10    That's small boats.

11               THE INTERPRETER:     C-h-a-l-u-p-a-s, by the

12    interpreter.

13    Q     What is a chalupa?

14    A     A small boat.    A chalupa is a small boat that many times

15    smalltime fisherman use.      It's got an outboard motor.      And I

16    told them that what they had to do was to approach with the

17    chalupa, that is approach my boat that I was bringing from

18    Colombia with the cocaine, and the people that I was sending

19    in my boat was going to pass them the cocaine into the

20    chalupas to offload it on the Pacific Coast of Mexico on the

21    beach.

22    Q     Did you discuss with the defendant any technology that

23    would be required for this new transportation method?

24    A     Correct.

25    Q     What did you discuss?



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                           Goldbarg - direct - Ramirez                   1907


  1   A      I told them that we needed a house that was close to

  2   where the cocaine was going to be offloaded with an HF radio.

  3   Q      Was that an HF radio?

  4   A      It is a high-frequency radio that allows them to

  5   communicate with my Fishing Boat that carried the cocaine, and

  6   I needed to put a man on that radio.

  7   Q      Why did you need to have someone at that radio?

  8   A      Because the person I was placing there would be in

  9   constant communication with the Colombian both that carried my

10    cocaine in maritime language so that once the boat was

11    arriving to the spot where it was going to meet the chalupas,

12    they would know so that the chalupas could be there on time

13    and that therefore, be able to transfer the cocaine from my

14    boat to the chalupas.

15    Q      In this meeting with the defendant and the Beltrans and

16    his lieutenants, did you discuss what area of Mexico you could

17    send this fishing vessel to?

18    A      Yes.

19    Q      What area was mentioned?

20    A      I told them that I could do it anywhere on the Pacific

21    Coast and they said that the best place at that time would be

22    in Guerrero.

23    Q      I am showing you what's in evidence as Government Exhibit

24    502.   Could you please circle Guerrero?

25    A      This is the State of Guerrero.        This is Guerrero.



                          MDL      RPR       CRR       CSR
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                           Goldbarg - direct - Ramirez                   1908


  1   Q     Did you discuss with the defendant and the other members

  2   present what would happen to your cocaine once it got to

  3   Guerrero?

  4   A     Yes.

  5   Q     What did they tell you?

  6   A     That they were going to transport it to Sinaloa and then

  7   transport it to the border to the United States, into the

  8   United States and deliver it to me mainly in Los Angeles.

  9   Q     Did the defendant or anyone else present at this meeting

10    explain to you why they were choosing Guerrero as a first

11    location?

12    A     Correct.

13    Q     What did they tell you?

14    A     That they had a campadre there that belonged to the

15    federal police, that they had good arrangements in order to

16    offload the cocaine.

17    Q     Who mentioned this?     Who said they had good arrangements

18    in Guerrero?

19    A     Hector and Mr. Guzmán Loera.

20    Q     Was there any discussion of the quality of the cocaine

21    that you would transport to them using this new maritime

22    method?

23    A     Yes.

24    Q     Can you tell us about that?

25    A     Well, I told them that as always it would be of optimal



                          MDL      RPR       CRR      CSR
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                           Goldbarg - direct - Ramirez                   1909


  1   quality.

  2   Q     Was there any discussion of the quantity or the

  3   percentage rate that you would have to pay for them to

  4   transport your cocaine in this new maritime method?

  5   A     Yes.

  6   Q     What did they tell you?

  7   A     That now the percentage that they were going to charge me

  8   to transport my cocaine from Mexico into the United States was

  9   going to be 45 percent.

10    Q     Who told you that the rate was going to increase from 40

11    to 45 percent?

12    A     Mr. Guzmán Loera.

13    Q     And did the defendant tell you why it was that he was

14    increasing the rate from 40 to 45 percent?

15    A     Yes.

16    Q     What did the defendant tell you?

17    A     That the arrangements they had in the capital city with a

18    federal commander, Calderoni were expensive, plus another man

19    of high-ranking men in the Mexican Attorney General's Office

20    in PGR, the Mexican Attorney General's Office, and that now

21    they had arrangements also with the Mexican navy, therefore,

22    that increased the cost for them.

23    Q     Did you agree to pay a higher percentage fee to the

24    Sinaloa Cartel to receive your cocaine?

25    A     Yes.



                          MDL      RPR       CRR      CSR
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                           Goldbarg - direct - Ramirez                   1910


  1   Q     What did the defendant and the Beltran Leyvas say to this

  2   new proposal of transporting your cocaine through this new

  3   maritime shipment?

  4   A     That it sounded well to them but that we needed to go and

  5   speak to someone in prison.

  6   Q     Now, when they told you that they were going to charge

  7   you 45 percent, did you have any concerns about paying that

  8   extra percentage?

  9   A     No.    I had no concerns.

10    Q     Why not?

11    A     Well, because if they had increased costs, what could I

12    do with that?     It was them who set the price.      They set the

13    price on my cocaine, the cocaine that I sent to them to

14    Mexico.     They set a price for the job.     Obviously, as the

15    businessman that I am, that I was, I tried to negotiate with

16    them somewhat less, you know.

17    Q     Now, you said that when you went to Mexico you met with

18    the members of the Sinaloa Cartel.       Besides the defendant and

19    the Beltran Leyvas, did you have other meetings to discuss

20    this new maritime shipment?

21    A     Yes.

22    Q     Who did you meet with?

23    A     I also spoke to Mr. Mayo Zambada, the Carrillo Fuentes

24    brothers and Mr. Nacho Coronel.

25    Q     What reaction did they have to this new maritime



                          MDL      RPR       CRR      CSR
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                           Goldbarg - direct - Ramirez                     1911


  1   proposal?

  2   A       Well, they loved it.    They loved it.     They thought it was

  3   a super great.

  4   Q       You just testified that the defendant said that he wanted

  5   to take you to see someone.          Who did the defendant want to

  6   take you to see?

  7   A       Well, the defendant, Mr. Guzmán Loera and the other

  8   people of the Sinaloa Cartel wanted me to go and speak to El

  9   Azul.

10    Q       Who is El Azul?

11    A       El Azul was a man who was a member of the Sinaloa Cartel

12    who was like a godfather, like a godfather.

13    Q       What do you mean he was like a godfather?

14    A       A godfather is someone in the drug trafficking world,

15    someone who is very much respected by the other drug

16    traffickers and whose opinions are listened to and who also

17    has the role as a mediator to mediate the problems that come

18    up among the bosses of the cartel, and, in general, that is a

19    person who has a lot of contacts, a lot of corruption contacts

20    in the police, in politics.

21    Q       Did you meet with El Azul?

22    A       Yes.

23    Q       Where did you go to meet with El Azul?

24    A       To a prison in Mexico City.

25    Q       Showing you what's in evidence as Government Exhibit 6:



                          MDL        RPR       CRR     CSR
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                           Goldbarg - direct - Ramirez                   1912


  1   Who is that?

  2   A     That is El Azul, Juan Esparragoza.

  3   Q     Who was present at this meeting in the jail with El Azul?

  4   A     Mr. Guzmán Loera was there, the Carrillo Fuentes

  5   brothers, and Mayo Zambada.

  6   Q     Which Carrillo Fuentes brothers specifically were there?

  7   A     Amado and Vicente.

  8   Q     What was your understanding as to why these four people:

  9   The defendant, Mayo, Amado, and Vicente Carrillo Fuentes, went

10    to this meeting to see El Azul?

11    A     Because at the time they were the strongest men in the

12    Sinaloa Cartel.    That was my understanding.

13    Q     What do you mean they were the strongest?

14    A     The main bosses who were handling the most cocaine that

15    was being sent by me from Colombia to Mexico.

16    Q     Do you have an understanding of why they took you to meet

17    with El Azul?

18    A     Yes.

19    Q     Why was that?

20    A     Well, so that he could meet me.

21    Q     I'm sorry, so that who could meet you?

22    A     So that El Azul would get to know me and I would get to

23    know him, and so that he could listen to this proposal.

24    Q     How did you get to the jail?

25    A     I arrived there in a car in the company of a commander of



                          MDL      RPR       CRR      CSR
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                           Goldbarg - direct - Ramirez                   1913


  1   the federal police who worked for the Sinaloa Cartel.

  2   Q     Was this an official visit to the prison?

  3   A     It was not an official visit.

  4   Q     Why not?

  5   A     Because when I went in, there were no controls there.           I

  6   did not have to show any documents, so it was not an official

  7   visit.

  8   Q     Were you searched before you got into the jail?

  9   A     Not at all.

10    Q     What was it like inside of the jail?

11    A     Well, there was a pavilion, a unit where El Azul was with

12    his people separated from everyone else.

13    Q     When you say his people, what do you mean by that?

14    A     His lieutenants, his lieutenants, and the people who were

15    there with him keeping him company.          There were some of his

16    people there in jail with him.

17    Q     Now, you testified that you spent about four years in

18    jail in Colombia in 1996.      Based on your experience, was this

19    treated like a regular prison?

20    A     No.   No.   Just the same way when I had spent time in jail

21    in Colombia, because of corruption, I had complete control of

22    the prison.

23    Q     Did you see anything when you went to visit El Azul that

24    indicated that he also had privileges in that jail?

25    A     Yes, of course.



                          MDL      RPR       CRR       CSR
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                           Goldbarg - direct - Ramirez                   1914


  1   Q       Could you describe some of those to the jury, please?

  2   A       Well, I saw liquor, whiskey.    There was marijuana there.

  3   There were weapons there and any food, whatever food you

  4   wanted.

  5   Q       Do you have an understanding of how it was possible for

  6   El Azul to have these privileges in jail?

  7   A       Not precisely.     He did not tell me.

  8   Q       Based on the time that you spent in Colombia, did you

  9   have an understanding of how that could happen?

10    A       Of course.

11    Q       What was that?

12    A       Corruption payments to officials in the jail.

13    Q       What was the purpose of the meeting with El Azul in this

14    jail?

15    A       It was basically to hear the proposal that I was bringing

16    of sending the fishing boats with the cocaine from Colombia.

17    Q       What did you discuss in this meeting?

18    A       Well, I remember that El Azul, he said to me, he

19    mentioned somewhat jokingly, he said my campadre, Calderoni,

20    he says there are so many planes coming in to Mexico from

21    Colombia that the gabachos, the Americans, are saying that it

22    seems like Mexico is being invaded from so many planes

23    arriving in the early hours of the morning.

24    Q       What else was discussed in this meeting?

25    A       We spoke about the potential places where the cocaine,



                           MDL       RPR     CRR       CSR
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                           Goldbarg - direct - Ramirez                   1915


  1   the boats with the cocaine could be unloaded.         I also remember

  2   that Mr. Esparragoza said that the Mexican Government was

  3   saying that there was a lot of pressure on them from the

  4   American Government because -- due to the number of planes.

  5   Q     By the end of this meeting, did you have an understanding

  6   with El Azul, the defendant, Mayo Zambada, and the Carrillo

  7   Fuentes brothers?

  8                Let me repeat that.    By the end of this meeting, did

  9   you have an understanding with those who were present at this

10    meeting?

11    A     Not finalized, not a finalized agreement.

12    Q     What was the agreement that you did have?

13    A     Well, the agreement that we did reach was to change the

14    method from the planes to the boats to receive my cocaine.

15    Q     Did you discuss how many kilos of cocaine you would put

16    on this first shipment?

17    A     Yes.   I told him that I was so certain that it was going

18    to work well that I was going to put up 10,000 kilos of

19    cocaine to start.

20    Q     Now, before you transitioned from airplanes to maritime

21    shipments, approximately how many planes of cocaine had you

22    sent to the Sinaloa Cartel, approximately?

23    A     The most I got to send in one night was between 12 and 14

24    planes with cocaine from Colombia.       That's correct.

25    Q     So the entire time you're sending planes to the Sinaloa



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                           Goldbarg - direct - Ramirez                   1916


  1   Cartel, how many planes in total do you think you would have

  2   sent them?

  3   A     Tens of planes, tens.     Tens.    I don't know exactly how

  4   many, but a lot, a lot.

  5   Q     So after you left the prison with the meeting with El

  6   Azul, what did you do next?

  7   A     Then later I met with the members of the Sinaloa Cartel

  8   to finalize the details now of the sending of these boats with

  9   my cocaine from Colombia.

10    Q     Did these meetings happen with members of the Sinaloa

11    Cartel together or were these separate meetings?

12    A     No.    They were different meetings.

13    Q     Did you meet with the defendant to discuss these details?

14    A     Yes.

15    Q     And who was present at the meeting with the defendant

16    when you were finalizing these details?

17    A     Mr. Guzmán Loera was there, his brother Pollo, Gordo,

18    Sergio Ramirez, my lieutenant, Hector Beltran Leyva, and

19    myself.

20    Q     What did you discuss at this meeting, this follow-up

21    meeting?

22    A     We discussed me sending the boat with 10,000 kilos of

23    cocaine.     They, meaning the Sinaloa Cartel people, Mr. Guzmán

24    Loera and the others I already mentioned, were going to get

25    the chalupas to receive the cocaine from my boat, and the



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                           Goldbarg - direct - Ramirez                   1917


  1   person that I needed to place in one of their houses to handle

  2   the high-frequency radio.       So we coordinated details to have

  3   them start up, to have me start dispatching the boat.          I gave

  4   them an estimate of how long it would take the boat to arrive

  5   to the point where we were going to meet and at that time the

  6   cocaine was going to be delivered for me in Los Angeles

  7   mainly.

  8   Q       Who did you leave in Mexico that would be responsible for

  9   this shipment on your behalf?

10    A       Sergio Ramirez.

11    Q       Did you communicate with Mr. Sergio Ramirez about these

12    shipments?

13    A       Always.

14    Q       Did you, in fact, start sending this first shipment of a

15    maritime shipment to the Sinaloa Cartel?

16    A       Correct.

17    Q       Approximately when was it that you sent this first

18    shipment?

19    A       Approximately at the end of 1991, beginning of 1992.

20    Q       What kind of boat did you use?

21    A       I used a shrimp boat.

22    Q       How many kilos of cocaine did you put on this shrimp

23    boat?

24    A       10,000 kilos of cocaine.

25    Q       Where did the shrimp boat go to in Mexico?



                          MDL      RPR       CRR      CSR
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                           Goldbarg - direct - Ramirez                   1918


  1   A       Well, it actually arrived to Guerrero, near Acapulco.

  2   Q       Who actually received this first maritime shipment of

  3   cocaine?

  4   A       It was received by -- well, the logistics were taken care

  5   of by the Beltran Leyvas, but the boat was sent to Mr. Guzmán

  6   Loera and the Beltran Leyva brothers.

  7   Q       Could you explain to the jury what you mean that the

  8   Beltran Leyva brothers handled the logistics of receiving this

  9   boat?

10    A       Yes, they took a --

11                 THE INTERPRETER:     Interpreter correction.

12    A       (Continuing) they handled the chalupas that were going to

13    go meet the Colombian boat with the cocaine, later on the

14    offloading on the Mexican beach, and that was the transport to

15    Sinaloa.

16    Q       How do you know this?

17    A       Through my lieutenants.

18    Q       And what happened to the cocaine once it was received in

19    Guerrero?

20    A       It was transported to Sinaloa, then it was transported to

21    the border of the United States and it was delivered to me in

22    the City of Los Angeles, my percentage, 55 percent.

23    Q       55 percent of how many kilos?

24    A       10,000 kilos.   I received 5,500 kilos of my cocaine in

25    Los Angeles.



                          MDL       RPR      CRR      CSR
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                           Goldbarg - direct - Ramirez                   1919


  1   Q     How much did you pay the defendant to receive this

  2   cocaine?

  3   A     45 percent.    That is 4,500 kilos of cocaine.

  4   Q     And how do you know this?

  5   A     Through my lieutenants who received my cocaine in Los

  6   Angeles and my lieutenants in Mexico and my arrangement with

  7   Mr. Guzmán Loera was that I was going to pay him 45 percent.

  8   Q     Showing you what's in evidence as Government Exhibit 504,

  9   Mr. Ramirez, could I ask you to please mark on the screen in

10    front of you the route that the shrimp vessel took from

11    Colombia to Acapulco?

12    A     Correct.   It sailed off from a small city called

13    Buenaventura, which is my department off the coast of Colombia

14    and it went all along the Pacific.       And on this first shipment

15    it got very near the Mexican Pacific Coast until the chalupas

16    that belonged to Mr. Guzmán Loera and the Beltran Leyvas came

17    to meet the boat.

18    Q     Mr. Ramirez, when you say that your boat went very close

19    to the beach, do you know approximately how close the Colombia

20    vessel was, the shrimp vessel was to the coast of Acapulco?

21    A     Very close.    From what I remember, having spoken to the

22    captain of the boat, approximately 10 miles away.

23    Q     The captain of which boat?

24    A     My Colombian boat, the one with the cocaine.

25    Q     Did this captain work for you?



                          MDL      RPR       CRR      CSR
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                           Goldbarg - direct - Ramirez                    1920


  1   A     Of course.

  2   Q     Ms. Goldbarg, are you at a good point?

  3               MS. GOLDBARG:    This would be a good point.

  4               THE COURT:    Okay.     We will take our morning break,

  5   ladies and gentleman.      Please don't talk about the case.        See

  6   you then.    Be here at 11:25.

  7               (Jury exits the courtroom.)

  8               THE COURT:    Okay, 11:25.

  9               (Recess taken.)

10                (In open court - jury not present.)

11                (Defendant present.)

12                THE COURTROOM DEPUTY:      All rise.

13                THE COURT:    Let's have the jury, please.

14                MR. PURPURA:    Can I get another five minutes when

15    Ms. Goldbarg is finished?

16                THE COURT:    Yes.    You mean before cross?

17                MR. PURPURA:    Yes.

18                THE COURT:    Everyone may want to sit down.      The

19    jurors are still on their convenience break.

20                MR. BALAREZO:    We are still having that issue with

21    the sight line.

22                THE COURT:    It did not fix it?

23                MR. BALAREZO:    Not really.

24                THE COURT:    I need to ask the witness to stay as

25    close to the interpreter as possible.



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                           Goldbarg - direct - Ramirez                   1921


  1                MR. BALAREZO:   Thank you.

  2                (Jury enters the courtroom.)

  3                THE COURT:   All right.   Be seated, please.     Let's

  4   continue.

  5                MS. GOLDBARG:   May I proceed, Your Honor?

  6                THE COURT:   You may.

  7   BY MS. GOLDBARG:

  8   Q     Mr. Ramirez, on the screen, you drew on Exhibit 504 about

  9   the location of the first shrimp vessel you sent to the

10    defendant containing 10,000 kilos of cocaine.

11    A     Correct.

12    Q     How many times did you use the chalupas to offload your

13    cocaine from the Colombian boats?

14    A     Only during that first shipment.

15    Q     Why?

16    A     Because when my shrimp vessel went back Colombia, the

17    captain spoke to me.      He told me that it seemed to him very

18    risky to get that close to the Mexican coast due to the Coast

19    Guard and the Mexican Navy and he advised me that we should

20    not get that close to the Mexican coast, to be able to protect

21    the ship with the cocaine and the people who were there.

22    Q     As a result of this, what did you do?

23    A     Well, I told my lieutenants in Mexico to speak to the

24    Sinaloa Cartel people who were receiving my boats with my

25    cocaine so that they could also get shrimp vessels, and so



                          MDL      RPR       CRR      CSR
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                           Goldbarg - direct - Ramirez                   1922


  1   that the shrimp boat from Colombia and the shrimp boat from

  2   Mexico would meet, would meet at a point around, between 300

  3   and 350 miles from the Mexican coast.

  4

  5              (Continued on following page.)

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                          MDL      RPR       CRR      CSR
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                             Ramirez - direct - Goldbarg                 1923


  1   EXAMINATION CONTINUES

  2   BY MS. GOLDBARG:

  3   Q     Did the members of The Sinaloa Cartel accept this

  4   modification?

  5   A     Yes.

  6   Q     Did you send another shipment via maritime shipment to

  7   The Sinaloa Cartel?

  8   A     Yes.

  9   Q     Who was the member of The Sinaloa Cartel who received

10    this cocaine shipment?

11    A     The Beltran Leyvas were the first ones to receive my

12    shrimp boat with one of their shrimp boats.

13    Q     So the Beltran Leyvas had a shrimp boat that would meet

14    your Colombian shrimp boat?

15    A     Yes.

16    Q     Explain to the jury how this works logistically.

17    A     Correct.    So the range of a shrimp boat, right, a normal

18    range of a shrimp boat would not raise any suspicion.          So they

19    do their fishing of shrimp between 300 and 350 miles from the

20    coast, so --

21    Q     I'm sorry, can you clarify that?

22                 Can you describe the distance again?

23    A     Yes.    The range of a shrimp boat to fish regularly would

24    be between 150 miles and 300 miles, so as not to raise

25    suspicions.    So my shrimp boat, which was bringing the



                       SAM       OCR     RMR     CRR       RPR
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                             Ramirez - direct - Goldbarg                 1924


  1   cocaine, would meet the shrimp boat of The Sinaloa Cartel's

  2   people.

  3   Q     Who would set the meeting point?

  4   A     I would propose three different points, three different

  5   coordinates.

  6   Q     Why did you propose three different coordinates?

  7   A     The reason to propose three different points was so that

  8   in case we needed to change, meaning we had three different

  9   alternative as meeting points.

10    Q     Using the map that's on the screen next to you,

11    Government Exhibit 504, can you show where it is that your

12    shrimp vessels would go from Colombia?

13    A     Correct.    In general, they would leave from Buenaventura,

14    or further south near the Ecuadorian border with Colombia,

15    from a Colombian town named Tumaco.

16                So, they would go all around the Pacific Ocean and

17    the meeting point with the shrimp boats from The Sinaloa

18    Cartel's people would range from Guerrero to the Sinaloa

19    state.    Meaning here, this area here (indicating).        Meaning

20    any point along this line (indicating), the Colombian shrimp

21    fishing boat could meet the Mexican shrimp fishing boat.

22    Q     And I just changed the color.

23                 Can you show where it is that the Mexicans would

24    come and meet your vessels?

25                MS. GOLDBARG:    Sorry, I just changed the color.



                       SAM       OCR     RMR     CRR       RPR
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                             Ramirez - direct - Goldbarg                 1925


  1   A     So, from a point at -- facing the coast of Guerrero to a

  2   point facing the coast of Sinaloa.

  3   Q     So, for example, if you provided the members of The

  4   Sinaloa Cartel with three meeting points, what area would

  5   those three meeting points be in be, generally?

  6   A     They would be in this area (indicating).

  7                To give you an example, if we had three meeting

  8   points and the meeting was going to take place in front of the

  9   coast of Guerrero, so then we would select three points, three

10    meeting points in this region here (indicating).

11                 MS. GOLDBARG:   Your Honor, may I approach the

12    witness?

13                 THE COURT:    Yes.

14    BY MS. GOLDBARG:

15    Q     Mr. Ramirez, I just provided you a copy of Government

16    Exhibit 504-6 and a marker.

17    A     Correct.

18    Q     With the marker, could you please pretty much copy what

19    you've drawn on the screen?

20    A     Yes.   (Witness complies.)

21    Q     Have you completed it?

22    A     Yes.

23                 MS. GOLDBARG:   May I approach, Your Honor?

24                 THE COURT:    You may.

25                 MS. GOLDBARG:   For the witness only.



                       SAM       OCR        RMR   CRR      RPR
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                             Ramirez - direct - Goldbarg                 1926


  1   BY MS. GOLDBARG:

  2   Q     Showing you what's been marked as 504-6 --

  3                MR. PURPURA:    No objection.

  4                THE COURT:    Received.

  5                (Government's Exhibit 504-6 was received in

  6   evidence.)

  7   By MS. GOLDBARG:

  8   Q     I would like to show you what's now in evidence as 504-6.

  9                Is this the mark that you just made, Mr. Ramirez?

10    A     Correct.

11    Q     Now, over time, did you have to change the meeting points

12    from farther away to the 150, 300-mile range?

13    A     Correct.

14    Q     Why was that?

15    A     Because, as time went by, due to security reasons to

16    protect the shipment of cocaine and the boat, we have to move

17    away farther and farther away from the Mexican coast.

18    Q     Did you also have to change the type of boats you were

19    using?

20    A     Correct.

21    Q     What kind of fishing vessels were you using now?

22    A     We started to use fishing boats, white fishing boats, and

23    also tuna fishing boats.

24    Q     And where would these boats meet with the Mexican boats?

25    A     Well, we began to move more away and more away, and we



                       SAM        OCR    RMR       CRR     RPR
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                            Ramirez - direct - Goldbarg                  1927


  1   got to a point when we were over a thousand miles away from

  2   the Mexican coast.

  3   Q     On Government Exhibit 504, can you please mark where that

  4   farthest point was that you would meet with the Mexican ships?

  5   A     (So marked.)

  6              MS. GOLDBARG:     I'm sorry, Your Honor, I should have

  7   done this previously.

  8              May I approach again?

  9              THE COURT:     You may.

10               MS. GOLDBARG:     May I ask a few questions from here

11    to save time?

12               THE COURT:     Go right ahead, but you are going to

13    need a lapel mic.

14               MS. GOLDBARG:     Sorry.

15               THE COURT:     That's good.

16    Q     Using the marker, could you please recreate the line you

17    just made on the map on the screen, please?

18    A     (Witness complies.)

19               MR. PURPURA:     No objection.

20               THE COURT:     Received.

21               (Government's Exhibit 504 was received in evidence.)

22               (Exhibit published.)

23    BY MS. GOLDBARG:

24    Q     Mr. Ramirez, when you started meeting out at this farther

25    point and you were using fishing vessels, did you have to make



                      SAM       OCR        RMR    CRR     RPR
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                             Ramirez - direct - Goldbarg                 1928


  1   any modification to the boats?

  2   A     Correct.

  3   Q     What kind of modifications did you have to make?

  4   A     I had to build what we call caletas or clavos,

  5   C-L-A-V-O-S.

  6   Q     What is a caleta or a clavo?

  7   A     It is a compartment, a space, that we built on the boat,

  8   a secret compartment, meaning in that it would not be seen

  9   just -- just like that.      And in that compartment, we would

10    place my cocaine.

11    Q     Did you start sending tuna vessels and fishing vessels to

12    The Sinaloa Cartel after this?

13    A     Correct.

14    Q     Until approximately what time, year?

15    A     I sent fishing boats until 1998, approximately.

16    Q     After you started using these fishing vessels, did you

17    start having any problems with this transportation method?

18    A     Yes.

19    Q     What happened?

20    A     That I had sent a boat to the Carrillo-Fuentes with

21    20,000 kilos of cocaine.         So, they received -- my Colombian

22    ship met their ship successfully, but then later the captain

23    of the Mexican boat started to use drugs, cocaine; he started

24    to see ghosts everywhere, American Coast Guard vessels

25    everywhere, and sunk the ship with my 20,000 kilos of cocaine.



                       SAM       OCR       RMR    CRR      RPR
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                            Ramirez - direct - Goldbarg                  1929


  1   Q     How do you know about this?

  2   A     I know it through my lieutenants and -- and my

  3   conversations about the incident with the Carrillo-Fuentes.

  4   Q     What did you do after this incident?

  5   A     I went to Mexico.

  6   Q     On those trips to Mexico, what kind of documentation

  7   would you use?

  8   A     No, I used fake documents, that they were not -- fake

  9   documents.

10    Q     Did you have any arrangements when you left from Colombia

11    on this trip to Mexico?

12    A     Certainly, I did.     I had arrangements with DAS in

13    Colombia, immigration in Colombia, to be able to leave

14    Colombia.

15    Q     Did you have any arrangements when you arrived in Mexico?

16    A     Yes.

17    Q     Who would arrange that for you?

18    A     My lieutenants, along with The Sinaloa Cartel people.

19    Q     And what was the purpose of having these arrangements,

20    both in the Colombian and the Mexican airports?

21    A     So that there wouldn't be any -- any record of me, of my

22    traveling, and to protect myself from any arrests.

23    Q     Did you make it safely into Mexico on this trip?

24    A     Yes.

25    Q     And what happened when you got to Mexico?



                      SAM       OCR      RMR     CRR      RPR
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                            Ramirez - direct - Goldbarg                  1930


  1   A     People from the federal police were waiting for me at the

  2   airport in Mexico.     People who -- whom the cartel, the

  3   Sinaloa, had arranged to.       So when the door of the plane from

  4   Colombia opened up there, they were waiting for me there and

  5   they took me aside, they took me to one side.

  6   Q     What was the purpose of this trip to Mexico?

  7   A     The purpose was to speak to the Carrillo-Fuentes about

  8   the problem that had just taken place when they sunk my ship

  9   with the 20,000 kilos of cocaine.

10    Q     Who specifically did you speak with, with the

11    Carrillo-Fuenteses?

12    A     I spoke to Amado Carrillo-Fuentes.

13    Q     Do you know where the Mexican boat sunk with your 20 tons

14    of cocaine on it?

15    A     Well, approximately.

16    Q     Did you visit the location?

17    A     Yes.

18    Q     Who did you go with?

19    A     I went there with Amado Carrillo-Fuentes and his trusted

20    pilot and his people on a helicopter.

21    Q     Where did the helicopter go?

22    A     We met -- I met with Amado Carrillo-Fuentes in Acapulco.

23    I left from there with him by helicopter, because prior to

24    sinking the ship the captain had taken the coordinates of the

25    location.    So based on those coordinates, we flew around with



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                            Ramirez - direct - Goldbarg                  1931


  1   the -- on the helicopter around the area where the ship was

  2   supposedly -- had supposedly been sunk.

  3   Q     Did you see anything when you were over that area?

  4   A     Nothing other than sea, just the sea.

  5   Q     Did anything happen on the helicopter ride that you

  6   recall?

  7   A     Yes.

  8   Q     What happened?

  9   A     Well, when I saw all that sea, I just became very sad.           I

10    was down.     I said they're never going to find this, so I fell

11    asleep.     I fell asleep with my mouth open.      So Amado Carrillo

12    took a photo of me and he was making fun of my later on,

13    saying, oh, look at him with his mouth open in the helicopter,

14    asleep.

15    Q     Do you know if they were able to recover any of the drugs

16    that sunk on the ship?

17    A     Yes.

18    Q     Were you present in Mexico when these kilos were

19    recovered?

20    A     No.

21    Q     So how do you know this?

22    A     Through my lieutenants and because the Carrillo-Fuentes

23    asked me to send a chemist to them because part of the cocaine

24    had been ruined when it got wet.

25    Q     Do you know how it was that the kilos were recovered from



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                               Ramirez - direct - Goldbarg               1932


  1   the sunken ship?

  2   A       Yes.

  3   Q       How was that?

  4   A       Well, the Carrillo-Fuentes hired a team of divers to go

  5   down and recover it.        And actually, they looked for it for a

  6   little bit more than a year until they found it.

  7   Q       Did you end up sending a chemist to the

  8   Carrillo-Fuenteses?

  9   A       Correct.

10    Q       And while you were in Mexico on this trip, did anything

11    else happen that you remember?

12    A       Yes.

13    Q       What was that?

14    A       I had sent Mr. Guzmán Loera a boat carrying 10,000 kilos

15    of cocaine and it was on the way to Mexico when I arrived in

16    Mexico.

17    Q       What happened to that 10,000 kilo shipment of cocaine?

18    A       Well, my boat arrived at the spot and there was no boat

19    from the Guzmán Loera or Beltran Leyvas there waiting for

20    them.

21    Q       So what did you do?

22    A       Well, the boat kept going around and around there.        I was

23    fearful of losing the boat with the cocaine and I went to

24    speak to the Carrillo-Fuentes, so with Amado.           I explained the

25    situation to him, and so he said:          I'll take it, I'll receive



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                            Ramirez - direct - Goldbarg                  1933


  1   it, and I'll just settle with Mr. Guzmán Loera.

  2   Q       Now, before you went to go speak with Amado Carrillo, did

  3   you speak with the defendant about this shipment?

  4   A       Yes, I told him the boat was going around in circles

  5   there and there was nobody receiving it.

  6   Q       What, if anything, did the defendant respond?

  7   A       Well, no, he said Gordo is in charge of that and we're

  8   going to go out and receive it, the boat's going to arrive.

  9   Q       And did it?

10    A       It did not arrive.

11    Q       And when Amado Carrillo told you that he would settle

12    things with the defendant, what did you understand that to

13    mean?

14    A       Well, there was no problems and that he'd come to an

15    arrangement with him.

16    Q       When you say:   He would come to an arrangement with him,

17    who are you referring to?

18    A       I'm speaking about Mr. Amado Carrillo when he said no

19    problem, I'll receive it and then I'll speak to him, I'll

20    speak to Mr. Guzmán.

21    Q       After you had this conversation with Amado Carrillo, what

22    happened to your cocaine shipment?

23    A       Well, the Carrillo-Fuentes did, indeed, send a boat to

24    meet my boat with the cocaine.       They met up in the Pacific.

25    My cocaine was transferred successfully to the



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                             Ramirez - direct - Goldbarg                 1934


  1   Carrillo-Fuentes boat and it was successfully taken to the

  2   Mexican coast.

  3   Q     What happened to your cocaine once it made it to the

  4   Mexican coast?

  5   A     It was later transported to the United States and

  6   delivered to my lieutenants successfully.

  7   Q     Who delivered the cocaine from the Mexican coast to your

  8   workers in Los Angeles?

  9   A     The Carrillo-Fuentes.

10    Q     So who did you pay for transporting your cocaine from

11    Mexico to Los Angeles?

12    A     The Carrillo-Fuentes.

13    Q     Did you pay the defendant anything?

14    A     No, nothing.

15    Q     Why not?

16    A     Well, because he didn't receive my boat.        The

17    Carrillo-Fuentes received the boat and it was with them that I

18    negotiated the receipt and the transportation of my cocaine to

19    the United States.

20    Q     Did this cause any problems for you or any of your

21    workers?

22    A     Yes.

23    Q     What happened?

24    A     Well, in Mexico City, one of my very important

25    lieutenants, whose name is Juan Carlos Ortiz, and Sergio



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                            Ramirez - direct - Goldbarg                  1935


  1   Ramirez were kidnapped by -- interpreter correction -- were

  2   picked up by El Gordo.

  3   Q     Juan Carlos Ortiz, does he have a nickname?

  4   A     Yes, Cuchilla.

  5   Q     And when you say that they were "picked up" by El Gordo,

  6   what do you mean by that?

  7   A     Well, he gave them an appointment in Mexico City and he

  8   kidnapped them, took them to a house.

  9   Q     How did you learn about this?

10    A     Through Amado Carrillo.

11    Q     Where in Mexico were you when you got news that Cuchilla

12    and Sergio had been kidnapped?

13    A     I was in Juarez with the Carrillo-Fuentes.

14    Q     So what did you do?

15    A     I told Amado Carrillo to please talk to Mr. Guzmán Loera

16    to resolve the situation, since he had told me that when he

17    received the boat from me that he would speak to him and there

18    was going to be no problem.

19    Q     Can you clarify when you said that when he said he would

20    speak to him there would be no problems, please?

21    A     I'm speaking about Mr. Amado Carrillo-Fuentes speaking to

22    Mr. Guzmán Loera.

23    Q     So what happened to your workers?

24    A     They were released.

25    Q     Did you speak with your workers after they had been



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                            Ramirez - direct - Goldbarg                  1936


  1   kidnapped?

  2   A     Yes.

  3   Q     What did they tell you?

  4   A     Well, they were angry at me because they hadn't wanted to

  5   go to that meeting with El Gordo, and they said Gordo was

  6   furious because I delivered my boat with the cocaine to the

  7   Carrillo-Fuentes, and then Gordo was pointing a gun at their

  8   head and saying I'm going to kill you.

  9   Q     Did you ever talk to the defendant about this?

10    A     Yes.

11    Q     And what did the defendant tell you about this incident?

12    A     Well, that that had been a problem with El Gordo, that we

13    should leave that behind, that not to lose faith, and that

14    we're going to keep going forward.

15    Q     Did anything like this ever happen again with Gordo?

16    A     No.

17    Q     Now, how frequently were you dealing with Gordo?

18    A     When I went to Mexico, I spoke to him several times.

19    Q     Approximately how many times would you say you met with

20    Gordo?

21    A     Eight, ten times.     Maybe more.

22    Q     Did you notice anything in particular when you would meet

23    with Gordo?

24    A     Yes.

25    Q     What was that?



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                            Ramirez - direct - Goldbarg                   1937


  1   A     Drug addict, using cocaine all the time.

  2   Q     You made a gesture with your hand.         In what form did

  3   Gordo use cocaine?

  4   A     Well, he generally had a little container, a vial that

  5   was gold-plated, with diamonds, with a little spoon which was

  6   gold-plated with diamonds, too.       And many times, when I was

  7   speaking to him, he would take his little vial out and start

  8   using the cocaine.     Constantly.

  9   Q     Did his cocaine usage interfere in your ability to do

10    business with him?

11    A     No.

12    Q     So, as a result of the problem that you had with the

13    defendant, did you put any new conditions on the cocaine

14    shipments you were sending to The Sinaloa Cartel?

15    A     Yes.

16    Q     And what was that?

17    A     Well, because of the ship they sank with my 20,000 kilos

18    of cocaine, and the problem that I had with my boat with the

19    10,000 kilos of cocaine and Mr. Guzmán Loera who hadn't come

20    out to receive it, I told them I was going to send a captain

21    to get onto the Mexican boat before it left in order to meet

22    my boat with the cocaine, and that way I could make sure they

23    were there on time to meet.      And also, to make sure like

24    something like what happened the last time with the captain

25    who went nuts and with the 10,000 kilos and sank the boat, so



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                            Ramirez - direct - Goldbarg                  1938


  1   that wouldn't happen again.

  2   Q      Who did you speak with about this new proposal?

  3   A      I spoke to Mr. Guzmán Loera.

  4   Q      Who was he present with when you had this discussion with

  5   him?

  6   A      His brother Arturo, El Gordo, El Mayo and one of my most

  7   trusted men.

  8   Q      When you say Mayo, who are you referring to?

  9   A      Mayo Zambada.

10

11                (Continued on the following page.)

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                           Ramirez - direct - Goldbarg                   1939


  1   DIRECT EXAMINATION

  2   BY MS. GOLDBARG:     (Continuing)

  3   Q     What did you discuss at this meeting with the defendant

  4   and Mayo?

  5   A     Well, the fact that I was going to send a captain for

  6   each shipment of cocaine that I sent with my cocaine from

  7   Colombia to get on deck their boat to make sure that they were

  8   there on time when the two boats were to meet to receive my

  9   cocaine.

10    Q     Were they acceptable conditions?

11    A     Yes.

12    Q     Did you meet with all of the members of the Sinaloa

13    Cartel to discuss this proposal?

14    A     Yes.   I made the same proposal and I had the same demands

15    for all of the people that I was sending my cocaine to.

16    Q     Did members of the Sinaloa Cartel accept your demands?

17    A     Yes.

18    Q     So did you, in fact, put a Colombian captain on the

19    Mexican boat?

20    A     Yes.

21    Q     Do you remember approximately when this was?

22    A     It was approximately 1992.

23    Q     And after you started putting a Colombian captain on the

24    Mexican boats, did you have any problems?

25    A     Yes, I had one more problem.



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                           Ramirez - direct - Goldbarg                   1940


  1   Q     And what was that problem?

  2   A     Well, I had sent Mr. Guzmán Loera a boat with 14,000

  3   kilos of cocaine and he reported there had been a hurricane in

  4   the Pacific and that the boat had disappeared.

  5   Q     Which boat had disappeared?

  6   A     The boat that had received the 14,000 kilos, Mr. Guzmán's

  7   Loera's boat.

  8   Q     Did you have anyone on Mr. Guzmán's boat?

  9   A     Yes, of course I had the captain I had sent for that.

10    Q     So what happened?

11    A     The boat disappeared.     Mr. Guzmán Loera communicated with

12    my lieutenants in Mexico so they could speak to me by phone to

13    Colombia about this situation.

14    Q     Did you speak personally with the defendant about this

15    situation?

16    A     Correct.

17    Q     What happened in that conversation?

18    A     Mr. Guzmán Loera told me there was a big hurricane in the

19    Pacific.     The boat disappeared, the crew disappeared,

20    everything disappeared, but I am going to send one of your

21    lieutenants with my people by plane and we are going to go out

22    to search for it in the Pacific in the area where the boat had

23    last reported being before it lost all contact.

24    Q     Did your workers go with the defendant as offered?

25    A     Yes.



                          MDL      RPR       CRR      CSR
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                           Ramirez - direct - Goldbarg                   1941


  1   Q      And did you speak with your workers about this?

  2   A      Yes.

  3   Q      What did they tell you?

  4   A      They told me that they had flown around the area for

  5   several days, where Mr. Guzmán said the boat had supposedly

  6   disappeared.    We saw nothing, only some pieces of wood in the

  7   ocean.   We didn't know whether they belonged to the boat or

  8   not.   It didn't appear anywhere.

  9   Q      Did you have another conversation with the defendant

10    about this 14 tons of cocaine that was lost due to the

11    hurricane?

12    A      Yes.

13    Q      What happened in that conversation?

14    A      Well, Mr. Guzmán Loera had told me there had been a

15    hurricane.    It is out of my hands, let's agree on a price that

16    you should give me at cost.

17    Q      Now, when the defendant asked you to settle on a price at

18    cost, what did you understand that to mean?

19    A      The cost was the value of the cocaine in Colombia, plus

20    the price of my boat that had gone from Colombia to Mexico to

21    deliver the cocaine to him.

22    Q      And what did you respond to the defendant when he gave

23    you this proposition?

24    A      Well, I said yes, that the cost per kilo of cocaine was

25    approximately $2,000, plus a thousand dollars for



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                           Ramirez - direct - Goldbarg                   1942


  1   transportation by ship, so the cost per kilo of cocaine would

  2   be $3,000.

  3   Q     So how much did the defendant owe you?

  4   A     $42 million.

  5   Q     How did you reach that amount?

  6   A     By multiplying 14,000 kilos of cocaine times $3,000,

  7   which was the cost.

  8   Q     And did the defendant agree to pay you back or pay you

  9   $42 million?

10    A     Well, yes, he said he was willing to pay me back but that

11    I had send him work because that had been an accident and that

12    he would pay me in installments.

13    Q     What did you understand when the defendant said you

14    needed to send him more work?

15    A     Well, to send him more shipments of cocaine so that he

16    could -- so that he could then pay me back in installments.

17    Q     Did the defendant, in fact, pay you back the $42 million?

18    A     No.

19    Q     Why not?

20    A     Because not long after that he was arrested in Central

21    America.

22    Q     When was this approximately?

23    A     1993 approximately.

24    Q     Did anyone from the defendant's organization take over

25    the debt that he owed you?



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                           Ramirez - direct - Goldbarg                   1943


  1   A     Yes.

  2   Q     Who was that?

  3   A     Arturo Guzmán Loera and Pollo, and the Beltran Leyva

  4   brothers.

  5   Q     How do you know this?

  6   A     Because I spoke to them personally by phone about the

  7   situation.

  8   Q     When you say you spoke to them by phone, who specifically

  9   are you referring to?

10    A     I'm referring to myself, to Pollo, Arturo Guzmán, and to

11    the Beltran Leyva brothers.        I spoke to Arturo Beltran Leyva

12    about this.

13    Q     Did you speak to Arturo Guzmán and Arturo Beltran at the

14    same time or different conversations?

15    A     No, the same conversation.

16    Q     Can you tell the jury what it is that you discussed with

17    Arturo Beltran and Arturo Guzmán in that conversation?

18    A     Yes.    They told me we are going to take over the debt,

19    Arturo said, you know, my brother's debt, and we need you to

20    send us work, meaning cocaine from Colombia so that we can pay

21    you back in installments, everything continues the same way,

22    and we need to work hard because my brother is now in prison,

23    and we are working to see how we can get him out of there.

24    Q     When Arturo Guzmán and Arturo Beltran tell you that

25    everything continues the same, what do you understand that to



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                           Ramirez - direct - Goldbarg                   1944


  1   mean?

  2   A       Well, I understood that Mr. Guzmán Loera continued in

  3   charge of the cocaine business through them, meaning through

  4   his brother Arturo Guzmán Loera and the Beltran Leyva

  5   brothers.

  6   Q       Did you eventually get paid the $42 million that was owed

  7   to you?

  8   A       Yes.

  9   Q       Who paid you for that?

10    A       Arturo Guzmán Loera and the Beltran Leyvas paid me.

11    Q       Did they pay you the full $42 million?

12    A       Yes.

13    Q       Approximately how long did it take them to pay you back

14    the $42 million?

15    A       More than a year.

16    Q       And during that time, did you continue to send cocaine

17    shipments to them?

18    A       Yes.

19    Q       Did you have an understanding of what the defendant's

20    role was in these cocaine shipments?

21    A       Well, that he continued with the cocaine business through

22    the Beltran Leyva brothers and his brother, meaning the

23    cocaine that I was sending from Colombia.

24    Q       And how do you know this?

25    A       Through my lieutenants in Mexico and my conversations



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                           Ramirez - direct - Goldbarg                   1945


  1   with Arturo Guzmán Loera.      I also spoke with Hector Beltran

  2   Leyva and with Arturo Beltran Leyva.

  3   Q     Before his arrest, did the defendant ever visit you in

  4   Colombia?

  5   A     Never.

  6   Q     Did the defendant ever send any of his workers to

  7   Colombia to meet with you?

  8   A     Yes.

  9   Q     Who did you meet with in Colombia that worked with the

10    defendant?

11    A     With his brother Arturo, El Gordo, and a Colombian guy

12    who worked with them whom we used to call Don Jorge.

13    Q     How many times did Pollo and/or Gordo come to visit you

14    in Colombia before the defendant was arrested in 1993?

15    A     Some four times, approximately.

16    Q     What would happen during these meetings?

17    A     Well, we spoke about the planes, about the landing

18    strips, the merchandise that we were going to send.          Once we

19    started using boats, we spoke about the boats, and sometimes

20    we would take -- we would look at indictments with seizures in

21    the United States.

22    Q     How many times did they visit you after the defendant was

23    arrested in 1993?

24    A     Well, I did not see El Gordo again, and I met with his

25    brother Arturo some two or three times more, and with Don



                          MDL      RPR       CRR      CSR
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                           Ramirez - direct - Goldbarg                   1946


  1   Jorge.

  2   Q     What would you discuss with defendant's brother Pollo?

  3   A     Well, his brother would tell me my brother sends you

  4   regards, his respects.

  5   Q     When Pollo would say my brother sends his regards, who

  6   did you understand that to mean?

  7   A     To Mr. Guzmán Loera, his brother.

  8   Q     What else did you discuss with Pollo?

  9   A     Well, we spoke about the cocaine loads that I was sending

10    to them by ship.     He told me that we should continue working

11    and the fact that we should continue working hard, and we

12    spoke about the deliveries of my cocaine that was being

13    delivered to me or where I would potentially receive it, and

14    he would always tell me we have to work hard because we are

15    working on getting my brother out of there, Mr. Guzmán Loera.

16    Q     What did you understand Pollo to mean that they were

17    trying to get the defendant out of there?

18    A     Well, I understood that everything continued the same way

19    as he told me, as Arturo Guzmán Loera told me, and that Mr.

20    Guzmán Loera continued at the head of the business of the

21    cocaine that I was sending to them from prison through his

22    brother Arturo and the Beltran Leyva brothers.

23    Q     Did you send cocaine directly to the defendant while the

24    defendant was in jail?

25    A     Not directly.



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                           Ramirez - direct - Goldbarg                   1947


  1   Q     Who did you send it to?

  2   A     I sent it to Arturo Guzmán, his brother, to the Beltran

  3   Leyva brothers, and I also sent it to Mayo Zambada.

  4   Q     What was your understanding of the defendant's role in

  5   these shipments of cocaine?

  6   A     My understanding was that he continued doing the business

  7   of cocaine from prison and that he was taking part in the

  8   cocaine loads that I was sending.

  9   Q     How many cocaine shipments -- I'm sorry, strike that.

10               How many fishing vessels containing cocaine did you

11    send to the defendant during this timeframe before the

12    defendant's arrest?

13    A     Five boats, approximately, plus the one that failed with

14    the 14,000 kilos because of the hurricane.

15    Q     How many other boats were you sending to the other

16    members of the Sinaloa Cartel during this same timeframe?

17    A     Approximately five boats, plus the one with the 20,000

18    kilos that had failed with the Carrillo Fuentes.

19    Q     What was the average size of the cocaine shipments that

20    you were sending to the Sinaloa Cartel at this time?

21    A     It would ranged from 6,000 to 20,000 kilos of cocaine.

22    Q     And how much were you paying the Sinaloa Cartel to

23    receive your cocaine shipments in Mexico and transport them to

24    the United States?

25    A     45 percent of the cocaine that I sent to them they kept



                          MDL      RPR       CRR      CSR
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                           Ramirez - direct - Goldbarg                   1948


  1   as the price for the transfer of the cocaine to the United

  2   States.

  3   Q     Now, you testified previously that you sent fishing

  4   vessels until approximately 1998.

  5   A     That's correct.

  6   Q     From 1993 until 1998, approximately how many fishing

  7   vessels did you send filled with cocaine to the Sinaloa

  8   Cartel?

  9   A     Over 20 boats.

10    Q     What was the average size of those boats?

11    A     10,000 kilos.

12    Q     Now, on Thursday, you testified about the defendant

13    requesting you to package cocaine in a special shape.

14    A     Correct.

15    Q     And that you heard about a seizure from your workers in

16    Los Angeles.

17    A     Correct.

18    Q     How frequently would you speak with your workers in Los

19    Angeles?

20    A     Frequently.    Several times a week.

21    Q     Did your workers tell you anything about how your drugs

22    were being crossed from Mexico into the United States?

23    A     Yes.

24    Q     What did they tell you?

25    A     Well, they told me that my drugs, my cocaine was being



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                           Ramirez - direct - Goldbarg                   1949


  1   transported by the members of the Sinaloa Cartel to the United

  2   States by using -- by the use of tunnels, tunnels at the

  3   border, tankers, small cars, on some occasions, small planes,

  4   tractor-trailers, by the use of companies, and trains.

  5   Q     Did your workers ever discuss specific cities along the

  6   U.S.-Mexico border that your cocaine was being crossed over?

  7   A     Yes.

  8   Q     Showing you what's in evidence as Government Exhibit 501.

  9   Could I ask you to circle the cities that your workers told

10    you the Sinaloa Cartel was using to cross your drugs into the

11    United States?

12    A     Mexicali, San Luis Rio Colorado, Nogales, Agua Prieta,

13    Palomas, Ciudad Juarez, Ojinaga.

14    Q     Now, Mr. Ramirez, you mentioned that you went to jail in

15    Colombia in 1996.     What were the charges against you?

16    A     Drug trafficking, money laundering, the use of straw

17    purchasers, and conspiracy, criminal association, which is

18    also conspiracy.

19                 MS. GOLDBARG:   Your Honor, can we take a break?

20                 THE COURT:   Yes.   Let's do lunch.      We will come back

21    here at 1:30.

22                 Ladies and gentleman, remember not to talk about the

23    case amongst yourselves.      See you at 1:30.

24                 (Jury exits the courtroom.)

25                 THE COURT:   Ms. Goldbarg, how are you doing



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                           Ramirez - direct - Goldbarg                   1950


  1   time-wise?

  2                MS. GOLDBARG:   I believe I will be done by the

  3   afternoon break.

  4                THE COURT:   Okay.      1:30.

  5                MR. BALAREZO:   Okay.

  6                (Lunch recess.)

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                             Ramirez - direct - Goldbarg                 1951


  1                              AFTERNOON SESSION

  2                       (Witness resumes the stand.)

  3                    (In open court - jury not present.)

  4                THE COURTROOM DEPUTY:    All rise.

  5                (Judge BRIAN M. COGAN enters the courtroom.)

  6                THE COURT:    Okay, let's have the jury, please.

  7                (Defendant enters the courtroom.)

  8                (The jury enters the courtroom.)

  9                THE COURT:    Everyone be seated.

10                 Please continue, Ms. Goldbarg.

11                 MS. GOLDBARG:   Thank you, Your Honor.

12    JUAN CARLOS RAMIREZ ABADIA,

13          previously called as a witness by the Government, having

14          been previously duly sworn/affirmed, was examined and

15          testified further as follows:

16    DIRECT EXAMINATION (Continuing)

17    BY MS. GOLDBARG:

18    Q     Mr. Ramirez, before our break you were discussing the

19    charges against you in Colombia when you went to jail in 1996.

20    A     Correct.

21    Q     One of those was a straw purchaser?

22    A     Yes.

23    Q     Can you explain to the jury what that is?

24    A     It means to purchase properties in Colombia under

25    somebody's name who is not really the owner of the property.



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                            Ramirez - direct - Goldbarg                  1952


  1   Q     In 1996, Mr. Ramirez, were you physically arrested?

  2   A     No.

  3   Q     How is it that you ended up in jail?

  4   A     Because I surrendered voluntarily to Colombian Justice.

  5   Q     What does that mean?

  6   A     I walked in by myself into the prosecutor's office in

  7   Colombia and I turned myself in voluntarily to Colombian

  8   Justice.

  9   Q     Did you have an arrangement with the Colombian

10    government?

11    A     Yes.

12    Q     And what was that arrangement?

13    A     I had an arrangement, a surrendering voluntarily to

14    Justice, to dismantle my criminal enterprise in Colombia and

15    to cooperate with the Colombian authorities.

16    Q     Is that, in fact, what you did when you went to jail?

17    A     No.

18    Q     What sort of an arrangement did you actually have with

19    the Colombian government?

20    A     Well, I had an arrangement based on the corruption that

21    existed at that time in my country.

22    Q     What was your original sentence in this case?

23    A     Twenty-four years.

24    Q     How much time did you actually serve?

25    A     Approximately twelve years, two months.



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                             Ramirez - direct - Goldbarg                 1953


  1   Q     Were you sentenced to a real prison?

  2   A     No.

  3   Q     How much did you pay for this arrangement?

  4   A     Several million dollars.

  5   Q     Who do you make these payments to?

  6   A     I made them to members of the Colombian government, who

  7   were corrupt.

  8   Q     How long were you in jail during this instance?

  9   A     For approximately four years and two months.

10    Q     During that time, did you dismantle your drug trafficking

11    organization?

12    A     No.

13    Q     Did you continue sending drugs while you were in jail in

14    Colombia?

15    A     Correct.

16    Q     Did you cooperate with the Colombian authorities while

17    you were in jail in Colombia?

18    A     Not really.

19    Q     Were you ever asked to be interviewed by any prosecutors

20    from other countries?

21    A     Yes.

22    Q     What country were they from?

23    A     From Mexico.

24    Q     And were you truthful with them?

25    A     No.



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                             Ramirez - direct - Goldbarg                 1954


  1   Q     Did you tell the Mexican prosecutors about your dealings

  2   with The Sinaloa Cartel?

  3   A     Not at all.

  4   Q     Why not?

  5   A     First of all, because at the time I was in prison I was

  6   sending cocaine to the people of The Sinaloa Cartel.          So why

  7   would I mention them if I was still negotiating with them and

  8   I was sending them cocaine from prison?

  9              Besides that, those of us who were heads of the

10    cartel had an agreement at the time in Colombia to not really

11    cooperate, so there could also be retaliation against my life

12    because of that.

13               And also, thirdly, because I knew that the

14    prosecutors that had come from Mexico were really scoundrels,

15    they were members of The Sinaloa Cartel.

16    Q     While you were in jail in Colombia, who ran the

17    day-to-day operations of your drug trafficking organization?

18    A     In Mexico or where -- in Mexico or in Colombia?

19    Q     Sorry.   All right, let's try that again.

20               While you were in jail in Colombia, who was running

21    the day-to-day operations of your organization in Colombia?

22    A     Sergio Ramirez handled them and Jorge Rodriguez Acero.

23    Q     What role were you playing?

24    A     Well, I was in jail shutting up the organization.          Giving

25    them orders, instructions.



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                             Ramirez - direct - Goldbarg                 1955


  1   Q     So even though were you in jail, who was actually making

  2   the final decisions about your drug trafficking organization?

  3   A     Me, totally me.

  4   Q     While were you in jail in Mexico, did you have -- I'm

  5   sorry.

  6              While you were in jail in Colombia, did you have any

  7   workers of your own in Mexico?

  8   A     Correct.

  9   Q     And who was that?

10    A     Alvaro Palau, a/k/a Olfato.

11               THE INTERPRETER:      By interpreter, O-L-F-A-T-O.

12    Q     I would like to show you, for identification purposes,

13    Government Exhibit 80.

14               Do you recognize the person in this photo?

15    A     Correct, yes.

16    Q     Who is that person?

17    A     He's my lieutenant, Alvaro Palau.

18               MS. GOLDBARG:     At this time, Your Honor, the

19    Government seeks to admit Government Exhibit --

20               MR. PURPURA:     No objection.

21               THE COURT:      Received.

22               MS. GOLDBARG:     -- 80 into evidence.

23               (Government's Exhibit 80 was received in evidence.)

24    BY MS. GOLDBARG:

25    Q     And what was Mr. Palau doing for you while were you in



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                             Ramirez - direct - Goldbarg                 1956


  1   jail in Colombia?

  2                (Exhibit published.)

  3   A     So he was in charge of the logistics of receiving my

  4   cocaine that I was shipping from Colombia to The Sinaloa

  5   Cartel people.

  6   Q     Do you know any other nicknames for Mr. Palau other than

  7   Olfato, O-L-F-A-T-O?

  8   A     Olafo.   Olafo.

  9                THE INTERPRETER:    By interpreter, O-L-A-F-O.

10    Q     Now, turning your attention to approximately 1998, 1990,

11    did you attempt to cooperate with the United States

12    Government?

13    A     Correct.

14    Q     With what agency?

15    A     The DEA.

16    Q     Did you have someone from your organization in charge of

17    these negotiations?

18    A     Yes.

19    Q     Who was that?

20    A     German Rosero, a/k/a Barbas or Barco.

21                 THE INTERPRETER:    B-A-R-C-O by interpreter.

22                 MS. GOLDBARG:   For identification purposes.

23    BY MS. GOLDBARG:

24    Q     I'm showing you what's been marked as Government

25    Exhibit 90.



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                              Ramirez - direct - Goldbarg                1957


  1                  Do you recognize the person in that photo?

  2   A       Yes.

  3   Q       Who was that --

  4                  MR. PURPURA:    No objection.

  5                  THE COURT:   Received.

  6                  (Government's Exhibit 90 was received in evidence.)

  7                  THE COURT:   Ask the question again.

  8   BY MS. GOLDBARG:

  9   Q       I am showing you what's now in evidence as Government

10    Exhibit 90.      Who is that?

11                   (Exhibit published.)

12    A       German Rosero.

13    Q       What was his attempted cooperation with the DEA that you

14    described, briefly?

15    A       I told German Rosero to contact the members of The

16    Sinaloa Cartel, with whom I had worked for all those years, so

17    they would receive my shipments of cocaine, but within that

18    cooperation that I wanted to engage in with the DEA at the

19    time.

20    Q       Did you send German Rosero anywhere?

21    A       Yes.

22    Q       Where did you tell German Rosero to go?

23    A       I told him to go to Mexico to contact the members of The

24    Sinaloa Cartel.

25    Q       What did German Rosero arrange as part of your



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                            Ramirez - direct - Goldbarg                  1958


  1   cooperation with the DEA?

  2              MR. PURPURA:     Objection, respectfully.

  3              THE COURT:     Sustained.

  4              MS. GOLDBARG:     If I may approach, Your Honor, I

  5   think we can --

  6              THE COURT:     Yes.

  7

  8              (Continued on the following page.)he following

  9   sidebar held outside the hearing of the jury.)

10               THE COURT:     How does it further the conspiracy?

11               MS. GOLDBARG:     Your Honor, the next answer, the

12    witness will testify that the DEA withdrew from the agreement.

13    And while a boat was at the high seas going to The Sinaloa

14    Cartel, instead of withdrawing it, he sent it to The Sinaloa

15    Cartel and turned this into a legitimate cocaine shipment that

16    went to The Sinaloa Cartel.

17               THE COURT:     But how does that further the -- how

18    does the information that this German person gave him further

19    the conspiracy?

20               MS. GOLDBARG:     Because German then becomes one of

21    his top lieutenants in Mexico with the very people that he met

22    on that trip.

23               THE COURT:     How does this statement coming from this

24    individual further the conspiracy?

25               MS. GOLDBARG:     Because once -- once this witness



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                            Ramirez - direct - Goldbarg                  1959


  1   receives information that he cannot -- that the deal is not

  2   going to go through, he then instructs his worker, Mr. Rosero,

  3   to turn this into a real drug deal.

  4               THE COURT:    Oh.   So it's not being offered for the

  5   truth, it's being offered to show what the witness did when he

  6   heard it?

  7               MS. GOLDBARG:    Correct.

  8               THE COURT:    Okay, it's allowed.

  9

10                (Sidebar concluded.)

11

12                (Continued on the following page.)

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                             Ramirez - direct - Goldbarg                 1960


  1               (In open court - jury present.)

  2   DIRECT EXAMINATION (Continuing)

  3   BY MS. GOLDBARG:

  4   Q     What was German able to arrange?       Without going into what

  5   they said, what was the final proposal he had?

  6   A     The final arrangement or proposal was for Nacho Coronel

  7   to receive a boat with 300 kilos of cocaine.

  8   Q     And did you send out a boat with --

  9               THE INTERPRETER:     Interpreter correction, thousand,

10    3,000 kilos of cocaine.

11    Q     And did you send out a boat with 3,000 kilos of cocaine

12    to Nacho Coronel?

13    A     Correct.

14    Q     Did your cooperation with the DEA work out?

15    A     No.

16    Q     Where was your ship with 3,000 kilos of cocaine located

17    when you found out the cooperation wasn't going to work out?

18    A     At high sea in the Pacific.

19    Q     Did you order this ship to return to Colombia?

20    A     No.

21    Q     What did you do?

22    A     I ordered German to turn it into a regular cocaine

23    shipment.

24    Q     What do you mean by that?

25    A     To have it be a cocaine shipment to Nacho Coronel so that



                       SAM       OCR     RMR     CRR       RPR
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                            Ramirez - direct - Goldbarg                  1961


  1   he would then give me my percentage of my cocaine in the

  2   United States.

  3   Q     What happened to those 3,000 kilos, did it make it to the

  4   United States?

  5   A     They did not.

  6   Q     How do you know that?

  7   A     Through my lieutenants.

  8   Q     And what did they tell you?

  9   A     That they had been seized in Mexico at a warehouse.

10    Q     What year was it that you got out of jail in Colombia?

11    A     2000.

12    Q     Did you have any -- did you make any decision about your

13    drug trafficking activities once you got out of jail?

14    A     Yes.

15    Q     What was that?

16    A     To stop doing the business of sending cocaine to the

17    United States through Mexico.

18    Q     Why did you make that decision?

19    A     Because I had already had problems with the United

20    States, I was super rich, so I said, enough is enough.

21    Q     Did you, in fact, get out of the drug trade?

22    A     No.

23    Q     What happened?

24    A     I realized -- I came to learn that the American

25    government in Washington, D.C., was preparing an indictment



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                            Ramirez - direct - Goldbarg                  1962


  1   against me to request my extradition, supposedly.

  2   Q     And how did this affect your decision to stay out of the

  3   drug trade?

  4   A     I decided to stay out, to stay away from it.

  5                THE INTERPRETER:   The interpreter needs to clarify

  6   something.

  7   A     I decided -- interpreters correction:        I decided to go

  8   back to the business, to continue with the business, because I

  9   needed money and I needed to be strong, to have a strong

10    presence in the organization.

11    Q     Did you make any changes to how you exported cocaine?

12    A     Yes.

13    Q     What was the change?

14    A     I thought of only sending the cocaine and sell it in the

15    high seas to the people of The Sinaloa Cartel.

16    Q     Why did you make this change?

17    A     Well, because I thought at the time that by sending my

18    cocaine to Mexico and not sending it then, in turn, to the

19    United States, as I had been doing before, I would not be -- I

20    would no longer be marketing and selling in the United States.

21    Well, then, in that case I said to myself -- so I said to

22    myself, well, in that case I won't have any problems.          I'll

23    avoid problems with American authorities because I will be

24    selling my cocaine in the high seas to the members of The

25    Sinaloa Cartel.



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                             Ramirez - direct - Goldbarg                  1963


  1   Q     Under this new business model, who was responsible for

  2   selling the cocaine that you sent in the United States?

  3   A     The Sinaloa Cartel's people.

  4   Q     Did this strategy work for you?

  5   A     It did not.

  6   Q     Why not?

  7   A     Because I was accused by an indictment in

  8   Washington, D.C. in 2004, and then later in the Brooklyn

  9   court.

10    Q     So why was your strategy wrong?

11    A     Well, because I -- I was conscious of the fact that the

12    cocaine, my cocaine, that I was selling to The Sinaloa

13    Cartel's people in the high seas was being transported and

14    then marketed in the United States.

15    Q     Now, when you said that you were selling your cocaine to

16    The Sinaloa Cartel at the high seas, can you explain to the

17    jury what you mean by that?

18    A     Correct.    So around towards the end of the year 2000, I

19    restart the business and I started to send cocaine to The

20    Sinaloa Cartel peoples by using go-fast boats.

21    Q     What is a go-fast boat?

22    A     Go-fast boats are boats that we -- that we use, which

23    could fit approximately 2,000 kilos of cocaine.            They have two

24    outboard engines, very powerful, and they were fast.

25               (Continued on the following page.)



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                           Ramirez - direct - Goldbarg                   1964


  1   DIRECT EXAMINATION

  2   BY MS. GOLDBARG:     (Continuing)

  3   Q     So what would happen with these go-fast boats?

  4   A     So I started to send those fast boats to the Sinaloa

  5   Cartel's people to sell it to them in the high seas and the

  6   Pacific Ocean, and well, they also had to go out to the high

  7   seas and using go-fast boats, to meet up with my go-fast

  8   boats, so the cocaine could be transported to their boats.

  9   Q     And what does it mean to sell it to the Sinaloa Cartel

10    with the high seas?

11    A     Well, it means to deliver the cocaine to them there at a

12    prearranged, pre-negotiated price, which was way less, and

13    once they received it, well, it became theirs, it was theirs

14    already and they had contracted a debt with me.

15    Q     So under your new plan, once you handed over the cocaine

16    to the Sinaloa Cartel, who owned that cocaine?

17    A     As soon as they received it, they were the owners.          They

18    owe me that and they had to take up the marketing of the

19    cocaine in the United States.

20    Q     When you say "they," who are you referring to?

21    A     I'm referring to the Sinaloa Cartel's people.

22    Q     And you said you started sending these go-fast vessels to

23    the Sinaloa Cartel approximately what year?

24    A     Towards the end of 2000.

25    Q     And at this time, at the end of 2000, who specifically



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                           Ramirez - direct - Goldbarg                   1965


  1   were the leaders of the Sinaloa Cartel that you were sending

  2   these go-fast vessels to?

  3   A     To Mayo Zambada and his brother, Ray Zambada, the Beltran

  4   Leyva brothers, Nacho Coronel, Vicente Carrillo.

  5   Q     Where was the defendant at this time?

  6   A     He was still in prison.

  7   Q     At this time, did you have an infrastructure in the

  8   United States to sell cocaine?

  9   A     No, I no longer had.

10    Q     When did you stop having an infrastructure in the United

11    States?

12    A     The year, the years '97, '98 approximately.

13    Q     At this time, in 2000, did you have an infrastructure in

14    Mexico?

15    A     Not a big infrastructure, only to receive the money of

16    the selling of the cocaine in the high seas.

17    Q     And around this time, did you end up sending someone to

18    Mexico to run your organization?

19    A     Correct.

20    Q     Who was that?

21    A     German Rosero, a/k/a Barbas.

22    Q     Was anyone helping German Rosero run your organization in

23    Mexico?

24    A     Yes.

25    Q     Who was that?



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                           Ramirez - direct - Goldbarg                   1966


  1   A     The people we had sent to handle the money were helping

  2   him, Alvaro Palau was also there and this gentleman Conejo.

  3   Q     Did you start having any problems with the go-fast

  4   vessels?

  5   A     Correct.

  6   Q     What were the problems?

  7   A     We started to suffer seizures of the boats and the

  8   cocaine in the high seas from the American Coast Guard.           They

  9   would follow the vessels.      Many times we'd have to drop the

10    cocaine into the sea or to burn it and they were also arriving

11    to the meeting points where they were supposed to meet up with

12    the Mexican vessels from the Sinaloa Cartel's people and no

13    one would arrive, so the boats would sit in the area, go from

14    here to there and we suffer many times seizures of the

15    cocaine, and we lost a lot of people.

16    Q     As a result of this, did you change how you were sending

17    cocaine to the Sinaloa Cartel?

18    A     Correct.

19    Q     What did you decide to do?

20    A     Well, it occurred to me to go back to the method that I

21    used to use before, which had worked perfectly for me using

22    the fishing boats.

23    Q     Did you change anything about the structure of ownership

24    of the cocaine?

25    A     Correct.



                          MDL      RPR       CRR      CSR
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                           Ramirez - direct - Goldbarg                    1967


  1   Q       What did you do?

  2   A       Well, I told German, I told my lieutenant German Rosero,

  3   to propose to the Sinaloa Cartel's people that they should

  4   participate in the shipment that I was sending.

  5   Q       What does it mean to participate?

  6   A       It means some point of partnership, meaning that from

  7   Colombia they would go in replacing their some kilos of

  8   cocaine at the price in Colombia at cost.

  9   Q       Would you have an investment in these kilos, these

10    cocaine shipments?

11    A       Certainly.   Obviously.      Yeah.   Most of it was mine.

12    Q       What would you do with your cocaine that were on these

13    cocaine shipments, on these fishing vessels?

14    A       I would send them on the Pacific Ocean to the high seas.

15    It was received by the ships of the Sinaloa Cartel's people

16    and I would sell it to them the high seas once my cocaine was

17    already in their boat.

18    Q       Mr. Ramirez, you stated that the cost of a kilo of

19    cocaine was $3,000.        What was cost of cocaine at the high

20    seas?

21    A       The cost at which I sold the cocaine to the Sinaloa

22    Cartel people ranged from 8,500, 9,000, 9,500, depending on

23    the price that we had prearranged, that we had previously

24    agreed through my lieutenant in Mexico, German Rosero.

25    Q       Now, you said this was a lower price.       Lower price than



                           MDL       RPR       CRR      CSR
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                           Ramirez - direct - Goldbarg                   1968


  1   where?

  2   A     The price was way less compared to the price at which

  3   cocaine was sold in the streets in the United States.

  4   Q     Would you make less money under this partnership deal

  5   with the Sinaloa Cartel?

  6   A     Yes, of course.

  7   Q     Then why did you propose this?

  8   A     Mainly to avoid my having to market that cocaine in the

  9   United States, to supposedly avoid problems with American

10    authorities, but also I no longer had an infrastructure in the

11    United States at all.     So that would mean for me zero issues,

12    zero issues if they lost it when crossing the cocaine.           That

13    is basically what I thought at the time and why I made that

14    decision.

15    Q     Did your lieutenants in Mexico speak with the members of

16    the Sinaloa Cartel about the partnership proposal?

17    A     Correct.

18    Q     Did you personally speak with anyone from the Sinaloa

19    Cartel about this?

20    A     No.

21    Q     Why not?

22    A     Because by then there were rumors already about

23    extradition and I did not want to appear on anything.          I

24    wanted to be behind the curtain because I was taking care of

25    myself.



                          MDL      RPR       CRR      CSR
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                           Ramirez - direct - Goldbarg                     1969


  1   Q     What do you mean by "behind the curtain"?

  2   A     Well, "behind the curtain" means that I continue being at

  3   the head in commanding the organization, I continued sending

  4   my cocaine, but it was my lieutenants, my people who were

  5   actually showing them, were actually facing the Sinaloa

  6   Cartel's people.

  7   Q     So when you were behind the curtain, who was the public

  8   leader of your organization?

  9   A     Laureano Renteria in Colombia.

10    Q     And who were his top lieutenants?

11    A     Well, Sergio Ramirez was there, Jorge Rodriguez Acero,

12    a/k/a Mono Cinquenta, Sophia, and we had in Mexico German

13    Rosero mainly.

14    Q     Who did all of these people report to?          Who did Mono

15    Cinquenta report to?

16    A     To me all the time.

17    Q     Did the members of the Sinaloa Cartel agree to this new

18    partnership?

19    A     Of course.    They loved it.

20    Q     When was the first time you sent a shipment to the

21    Sinaloa Cartel under this partnership model?

22    A     Towards the end of 2002, approximately.

23    Q     Was the defendant in jail at this time when you started

24    this partnership?

25    A     No.



                          MDL      RPR       CRR      CSR
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                           Ramirez - direct - Goldbarg                   1970


  1   Q     How do you know that?

  2   A     Through my lieutenants in Mexico.

  3   Q     I'd like to show you for identification Government

  4   Exhibit 510-2.

  5              MR. PURPURA:     No objection.

  6              THE COURT:     Received.

  7              (Government's Exhibit 510-2 received in evidence.)

  8   BY MS. GOLDBARG:

  9   Q     And without objection, I'd like to show to the jury

10    what's now in evidence as 510-2.

11               Mr. Ramirez, using this exhibit, can you explain to

12    the jury how this new partnership would work with the Sinaloa

13    Cartel?

14    A     Correct.

15               So this is a chart, a graph that shows that my

16    sending of cocaine on the Pacific Ocean.        The red line shows

17    the trajectory of my fishing boat with the cocaine and up

18    until the place where you would meet the boat of the Sinaloa

19    Cartel's people, then the cocaine would be moved from my ship

20    to theirs, and the black line is once it is already -- once it

21    was already in their hands, the cocaine is already theirs.

22    They already owe it to me.      It is their responsibility.       So

23    this black line represents their boat once it gets to Mexico

24    and it is unloaded, and then later it's taken to the United

25    States to the cities of Los Angeles, Chicago, and New York by



                          MDL      RPR       CRR      CSR
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                           Ramirez - direct - Goldbarg                   1971


  1   the Sinaloa Cartel's people.

  2   Q       Now, you mentioned that by the time you started this new

  3   model the defendant was no longer in jail in Mexico.           Are you

  4   aware of whether or not there was any change within the

  5   Sinaloa Cartel once the defendant was out of jail?

  6   A       Correct.

  7   Q       What was that change?

  8   A       They were now investors.

  9   Q       What does that mean?

10    A       Investors means they're not participating all of them in

11    the cocaine shipments that I was sending them.

12    Q       How do you know this?

13    A       I know it through my lieutenants.

14    Q       Let's use an example.    If you were sending a shipment of

15    10,000 kilos of cocaine and the Sinaloa Cartel was investing

16    in half and you were investing in another half, how would that

17    work?

18    A       Okay, well, they had, German Rosero would look for a

19    member of the Federation or the Sinaloa Cartel to propose the

20    deal of receiving the cocaine at high seas.           I would give them

21    a range.    I would tell him tell them to invest in 3,000, 4,000

22    kilos of cocaine, at cost, at Colombian cost, and I would say

23    to him you pick up the money first, send me the money.           And

24    once I've organized all the logistics, then I would set

25    everything up to send them, the shipment of cocaine, and then



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                           Ramirez - direct - Goldbarg                   1972


  1   I would send my own cocaine also to the high seas.

  2   Q      And your investment in that shipment of cocaine, when

  3   would you get paid for that?

  4   A      When they transported and sold the drugs in the United

  5   States and later the money would come back to Mexico and they

  6   would be able to pay me for the cocaine that I had sold them

  7   at high seas.

  8   Q      I'd like to show you for identification what has been

  9   marked as Government Exhibit 510-3.

10                MR. PURPURA:    No objection.

11                THE COURT:    Received.

12                (Government's Exhibit 510-3 received in evidence.)

13    BY MS. GOLDBARG:

14    Q      Showing you now what's in evidence 510-3, using this

15    example, can you explain to the members of the jury if you

16    were to split a cocaine shipment evenly with the Sinaloa

17    Cartel how it would work and when they would have to pay you?

18    A      Correct.

19    Q      So the 5,000 kilos that you would allow the Mexicans to

20    invest at the Colombian price, how much would they have to pay

21    you?

22    A      5,000 kilos that I would allow them to invest in at

23    $3,000 per kilo, means they would have to pay me $15 million

24    and they would have to send that to me before I would ship the

25    cocaine.



                          MDL      RPR       CRR      CSR
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                           Ramirez - direct - Goldbarg                   1973


  1   Q       And what denomination would the Sinaloa Cartel pay you

  2   for their investment in these shipments?

  3   A       Always in dollars.

  4   Q       And what about your investment in this shipment of

  5   cocaine, the 5,000 kilos that you would put on that cocaine

  6   shipment?

  7   A       Well, let's say I would sell them for $9,000 at high

  8   seas.    That means it's 5,000 kilos of cocaine per $9,000 per

  9   kilo.    That adds to $45 million, which they owed me at the

10    time that I delivered the cocaine to them at high seas and I

11    would receive this money.      That's $45 million for my cocaine

12    after they transported and sold my cocaine in the United

13    States and they brought back the money to Mexico and delivered

14    the money to my lieutenants and in charge of picking up money

15    in Mexico.

16    Q       How would you get your money from Mexico to Colombia?

17    A       Through people we call bajadores, the people who bring

18    these down.

19    Q       What is a bajador?

20    A       A bajador is a person who receives the proceeds of the

21    sales of drugs in Mexico in cash, in dollars, and would

22    transfer the cash to Colombia and the person charges a

23    percentage for bringing that money down to Colombia.

24    Q       Now, you've testified that German Rosero was in charge of

25    your operation in Mexico at this time.        What specifically was



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                           Ramirez - direct - Goldbarg                      1974


  1   his role regarding these shipments?

  2   A     He had to find a member of the Sinaloa Cartel or the

  3   Federation to propose the cocaine shipment that we were

  4   planning on doing.     I would give him the range that he was

  5   authorized to give them as to how much they could invest in,

  6   that is how many kilos of cocaine they could invest in.           I

  7   would tell them how much the load was going to be, how many

  8   kilos of cocaine were going to be given to them at high seas.

  9   He coordinated the logistics with the people of the Sinaloa

10    Cartel, the logistics of who was going to receive it and

11    offload the cocaine, and later on he would have to be in

12    charge of collecting the money for my cocaine that I was

13    selling them.    And for their investment, he had to get the

14    money that they had to pay me before I shipped the cocaine.

15    Q     Now, Mr. Ramirez, you said while you were in Colombia you

16    were trying to stay behind the curtain.

17    A     That's correct.

18    Q     When German Rosero was in Mexico, who was speaking with

19    German Rosero?

20    A     Laureano Renteria, my lieutenant spoke to him, Sergio

21    Ramirez.   Those mainly.     On occasion, also Mono Cinquenta,

22    Sofia.

23    Q     Just to be clear, Mono Cinquenta and Sofia are two

24    separate people?

25    A     Correct.



                          MDL      RPR       CRR      CSR
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                           Ramirez - direct - Goldbarg                    1975


  1   Q     Now, in this partnership with the Sinaloa Cartel, did you

  2   end up sending them cocaine?

  3   A     Of course.

  4   Q     What kind of vessels did you use?

  5   A     Fishing boats.

  6   Q     Did you have a code word for these cocaine shipments?

  7   A     Correct.

  8   Q     What was that code word?

  9   A     Juanitas.

 10               THE INTERPRETER:     By interpreter, J-U-A-N-I-T-A-S.

 11   Q     How many juanitas or how many cocaine shipments known as

 12   juanitas did you send to the Sinaloa Cartel?

 13   A     10 juanitas.

 14   Q     When did you send the first cocaine shipment called the

 15   juanita to the Sinaloa Cartel approximately?

 16   A     Approximately at the end of 2002.

 17   Q     When did you send the last cocaine shipment called

 18   juanita to the Sinaloa Cartel?

 19   A     Approximately January, February of 2005.

 20   Q     When did you stop sending cocaine to the Sinaloa Cartel?

 21   A     When I was arrested in 2007.

 22   Q     Now, you testified before that under this partnership the

 23   Sinaloa Cartel were investors in your cocaine shipments.

 24   A     Correct.

 25   Q     When you first started sending these cocaine shipments



                           MDL      RPR      CRR       CSR
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                           Ramirez - direct - Goldbarg                    1976


  1   called juanitas to the Sinaloa Cartel, who specifically was

  2   investing in these cocaine shipments?

  3   A     Mr. Guzmán Loera, Mr. Mayo Zambada and his brother Ray

  4   Zambada, Nacho Coronel, the Beltran Leyva brothers, and in the

  5   beginning Vicente Carrillo.

  6   Q     What do you mean by in the beginning?

  7   A     Because he participated until approximately 2004.

  8   Q     What happened in 2004?

  9   A     Well, one of his brothers, El Nino, Rodolfo was murdered.

 10   Q     And what did that lead to?

 11   A     It led to problems between the people of the Federation

 12   of the Sinaloa Cartel and the Guerreros.

 13   Q     What was the end result of those problems?

 14   A     We separated, and he stopped participating in the

 15   shipments.

 16   Q     When you say he separated, who specifically are you

 17   referring to?

 18   A     I'm referring to Mr. Vicente Carrillo.

 19   Q     Now, German Rosero was your top guy in Mexico; correct?

 20   A     Correct.

 21   Q     Are you aware of whether or not Mr. Rosero met with the

 22   defendant while he was in Mexico?

 23   A     Yes.

 24   Q     Did Mr. Rosero discuss this with you personally?

 25   A     Correct.



                           MDL      RPR      CRR       CSR
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                           Ramirez - direct - Goldbarg                    1977


  1   Q     What did German tell you?

  2   A     Well, Mr. German Rosero told me that he was going to the

  3   sierras, to the mountains to speak to Mr. Guzmán Loera, that

  4   he was going in some rickety old planes.         He said I'm nervous

  5   because these are old airplanes, I'm scared that one of these

  6   airplanes are going to crash with me in it.            And he said when

  7   he had a meeting, well, one of the meetings he had had with

  8   Mr. Guzmán Loera, he had told him I know who all that cocaine

  9   that you're bringing to Mexico and selling to us belongs to.

 10   Q     Mr. Ramirez, who said that to whom?

 11   A     Mr. Guzmán Loera told German Rosero, my lieutenant.           And

 12   in one of my lieutenant's trips to Colombia, he explained this

 13   to me.

 14   Q     What is it that the defendant told German Rosero at that

 15   meeting?

 16   A     I know who all that cocaine, all those drugs you're

 17   selling us belongs to, all the drugs that are coming from

 18   Colombia through you, I worked with him for a long time, with

 19   that man.    I send my respects.     He was always a straight

 20   shooter.    And that's basically what German told me.

 21   Q     When the defendant told German that he knew who the

 22   cocaine was coming from, what did you understand that to mean?

 23   A     So it meant that the defendant knew that cocaine that was

 24   arriving to them, to the Sinaloa Cartel, to Mr. Guzmán Loera,

 25   and to the others was mine, that I was the one sending it to



                           MDL      RPR      CRR       CSR
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                           Ramirez - direct - Goldbarg                    1978


  1   them and giving it to them in high seas.

  2   Q     Did you say anything to German Rosero about this?

  3   A     Yes.

  4                (Continued on following page.)

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                              Ramirez - direct - Goldbarg                 1979


  1   BY MR. GOLDBARG:       (Continuing)

  2   Q     What did you tell German Rosero?

  3   A     I said:    Please, act like you didn't hear anything.

  4   Please don't mention my name at all.        You keep showing your

  5   face and keep saying that's your cocaine and don't name me.

  6   Q     Now, did you eventually send out a cocaine shipment named

  7   Juanita 1?

  8   A     Correct.

  9   Q     Do you recall how many kilos of cocaine were on that

 10   shipment?

 11   A     Approximately 3,600, 3,800 kilos of cocaine.

 12   Q     Was this the average size of a cocaine shipment you were

 13   sending around this time?

 14   A     I started with that amount of kilos in that shipment.

 15   Q     Was that small or large compared to the shipments you

 16   would later send?

 17   A     It was the smallest one because we went back to the

 18   fishing boats.        I started that way to test if everything was

 19   going to go well, if it was going to work.

 20   Q     Did that cocaine shipment make it successfully to Mexico?

 21   A     Correct.

 22   Q     How do you know this?

 23   A     Through my lieutenants and because the money returned to

 24   Colombia from the cocaine I had sold him at high seas.

 25   Q     And who were the investors in this initial Juanita 1 one



                      CMH       OCR     RMR      CRR      FCRR
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                           Ramirez - direct - Goldbarg                    1980


  1   shipment?

  2   A     Mr. Guzman, Mr. Nacho Coronel, the Beltran Leyva

  3   brothers, Mayo Zambada, his brother, and Viceroy who is

  4   Vicente Carrillo.

  5   Q     Do you remember what percentage the Sinaloa Cartel

  6   invested in this specific cocaine shipment?

  7   A     I don't remember exactly how much.

  8   Q     And where did you hand off this initial Juanita 1 cocaine

  9   shipment to the Mexicans?

 10   A     High seas, it was delivered to them.

 11   Q     Do you know who it was delivered to?

 12   A     Yes.

 13   Q     Who was it delivered to?

 14   A     Nacho Coronel.

 15   Q     So what role did Nacho Coronel play in Juanita 1?

 16   A     He came up with the logistics for receiving my ship at

 17   high seas with the cocaine and he also gave German the money

 18   for the Sinaloa Cartel people's share before I sent out the

 19   shipment.

 20   Q     Mr. Ramirez, you've used that term a couple of times, the

 21   logistics for receiving the shipment.        Can you explain what

 22   you mean by that?

 23   A     The logistics mean, means what, I mean, which member of

 24   the Federation of the Sinaloa Cartel was going to send the

 25   fishing boat to meet up with our boat to transfer the coke on



                     CMH      OCR      RMR       CRR      FCRR
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                           Ramirez - direct - Goldbarg                      1981


  1   to the Sinaloa Cartel people's boat and to offload it onto the

  2   Mexican beach.

  3   Q     So, if Nacho Coronel was responsible for receiving the

  4   cocaine shipment of Juanita 1, does that mean that he was the

  5   sole owner of those kilos of cocaine?

  6   A     No.    No.   He was just doing the logistics of receiving

  7   the boat.

  8   Q     For the Juanitas that you ended up sending to the Sinaloa

  9   cartel, was Nacho Coronel the only one that handled the

 10   logistics of receiving your cocaine at the high seas?

 11   A     No.

 12   Q     Who else received -- who else handled the logistics for

 13   receiving these cocaine shipments?

 14   A     The Beltran Leyva brothers and Mr. Guzman Loera.

 15   Q     Did you end up sending a cocaine shipment titled

 16   Juanita 2?

 17   A     Correct, yes.

 18   Q     When did you start planning Juanita 2 in comparison to

 19   the when Juanita one left?

 20   A     Once Juanita Uno made it successfully to Mexico and the

 21   cocaine had been received by them, by the Sinaloa Cartel's

 22   people, it was transported by them to the United States.           It

 23   was sold and then the money came back and was delivered to me,

 24   delivered to my people in Mexico City.           Then I immediately

 25   began the planning of Juanita Dos, Juanita 2.



                     CMH      OCR      RMR       CRR       FCRR
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                           Ramirez - direct - Goldbarg                    1982


  1   Q     How long did it take you to plan to send out Juanita 2?

  2   A     The planning would usually take two to three weeks,

  3   sometimes four.

  4   Q     Can you describe briefly what would happen in those two

  5   to four weeks that you were planning the cocaine shipment?

  6   A     Correct.    I had to coordinate the sending of my cocaine

  7   to the Colombian coast from where the shipment would leave.

  8   We had to coordinate who was going to protect the shipment of

  9   cocaine in the Colombian coast, whether it be the guerillas or

 10   the paramilitaries.

 11               We had to make, coordinate corruption arrangements

 12   with the Colombian navy to be able to know that way also where

 13   the American frigates would be located so that we could figure

 14   a route for our cocaine, our shipment of cocaine to avoid

 15   meeting up with them and to avoid the boat being seized.

 16   Q     Did you have to purchase anything to put on these boats?

 17   A     Correct.    I had, I had to buy the food for the crew of

 18   the boat, fuel for the boat, parts for the ship in case the

 19   ship suffered an inconvenience, and ice to put in the freezer

 20   in the ship where supposedly the catch would be.

 21   Q     What catch are you talking about?

 22   A     I'm speaking of the catch that the boat would pretend to

 23   be taking by using the nets as it was going up the Pacific

 24   Ocean to meet up with the Mexican boat.

 25   Q     Once the cocaine shipment was ready to leave from



                     CMH      OCR      RMR       CRR      FCRR
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                              Ramirez - direct - Goldbarg                 1983


  1   Colombia, approximately how long would it take to get to the

  2   meeting point with the Sinaloa Cartel on the high seas?

  3   A       It could be two, three, four weeks, depending on if there

  4   was nothing unexpected that came up, and also the sea

  5   currents.

  6   Q       What role would you play during those two, three or

  7   four weeks that the cocaine was on its way to the Sinaloa

  8   Cartel?

  9   A       I would be in permanent contact with my lieutenant in

 10   Colombia who in turn were in permanent contact with Mr. German

 11   Rosero in Mexico and I would monitor how things were going,

 12   you know, on the boat until my boat met up with the Mexican

 13   boat.    The cocaine was transferred and then it would be

 14   offloaded in Mexico so I could tell them my lieutenants,

 15   German, the cocaine is there, get ready to start collecting

 16   the money.

 17   Q       During the time you were planning these Juanita cocaine

 18   shipments, how frequently were you speaking with your

 19   lieutenants and employees?

 20   A       Permanently, always, throughout the week, several times

 21   during the week.

 22   Q       Would it be fair to say that you are a hands-on boss?

 23   A       Always.

 24   Q       Did Juanita 2 make it successfully to Mexico?

 25   A       That's correct.



                        CMH     OCR     RMR      CRR      FCRR
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                           Ramirez - direct - Goldbarg                    1984


  1   Q     Now, for Juanita 2 through 10, was the logistics the same

  2   for all the other cocaine shipments that you just, the process

  3   you just described?

  4   A     Precisely the same.

  5   Q     Was your level of involvement in the preparation of these

  6   Juanitas similar?

  7   A     Yes.

  8   Q     Now, you said that Juanita 1 had approximately 36 to

  9   3,800 kilos of cocaine.       Did the amounts increase?

 10   A     Yes.

 11   Q     What was the largest cocaine shipment via Juanita that

 12   you sent?

 13   A     12,500 kilos of cocaine.

 14   Q     Now, did you have any issues with any of the earlier

 15   Juanita shipments?

 16   A     Yes.

 17   Q     Which one was that?

 18   A     I had a problem with the Juanita Four.        The boat was

 19   actually boarded by the American Coast Guard and it was

 20   searched in detail, my ship, the one carrying the cocaine.

 21   Q     Did the Coast Guard find the cocaine on your ship?

 22   A     No.    We had it in a really well-built secret compartment

 23   and they were not able to find it.

 24   Q     What, if anything, did you do with that boat?

 25   A     I told them to come back again and to approach the



                     CMH      OCR      RMR       CRR      FCRR
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                             Ramirez - direct - Goldbarg                  1985


  1   Colombian Pacific coast to transfer the cocaine to another

  2   Colombian fishing boat because I decided not to use that one

  3   because it had already been boarded so it seemed dangerous to

  4   me, it seemed risky to me.

  5   Q       So what did you do?

  6   A       I told my lieutenants to not use the boat that had been

  7   boarded to transfer the cocaine to a new, a different fishing

  8   boat.    The cocaine was placed in the secret compartments and

  9   he took, took off again going towards the high sea meeting

 10   point where it would have to deliver the cocaine to the

 11   Mexican boat.

 12   Q       Now, Mr. Ramirez, you discussed a lot of planning and

 13   expenses to prepare these Juanita shipments.

 14   A       Correct.

 15   Q       Whose money paid for these expenses for these cocaine

 16   shipments?

 17   A       It was my money.

 18   Q       Who was the only person authorized to make such payments?

 19   A       I was.

 20   Q       How did you make these payments occur?

 21   A       I would instruct my lieutenants to make said payments.

 22   Q       Could your lieutenants make payments without your express

 23   authorization?

 24   A       No.

 25   Q       How frequently would you meet with your lieutenants and



                       CMH     OCR     RMR       CRR      FCRR
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                           Ramirez - direct - Goldbarg                    1986


  1   workers to discuss the payments that you were making for the

  2   Juanita shipments?

  3   A     Frequently as, as need be, as many times as necessary.

  4   Q     And who specifically would you meet with to discuss these

  5   payments?

  6   A     With my lieutenant Laureano Renteria, with an accountant

  7   whom we used to call Esteban, and on some occasions, Sergio

  8   Ramirez was also there.

  9   Q     In what level of detail would you go into when you would

 10   have these meetings about these shipments?

 11                MR. PURPURA:       Your Honor, respectfully, time frame?

 12                THE COURT:    Yes.

 13   Q     At what point in time are we talking about?

 14                From what time were you sending Juanita cocaine

 15   shipments?

 16   A     Approximately from towards the end of 2002 until

 17   Juanita 10 which took place in 2005.

 18   Q     So during this time, what level of detail would you get

 19   into about the payments that were made?

 20   A     To every detail, to every small detail.         All the payments

 21   were checked and instruct, ordered by me.

 22   Q     Were there written reports kept for the Juanita drug

 23   shipments?

 24   A     Yes.

 25   Q     Did you keep these accounting reports?



                     CMH        OCR       RMR     CRR     FCRR
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                           Ramirez - direct - Goldbarg                    1987


  1   A     Yes.    They were created by my people.

  2   Q     Did you physically input the information that were

  3   contained in these accounting ledgers?

  4   A     No, not me.

  5   Q     Who would do that?

  6   A     Two of my lieutenants did it who were Laureano Renteria

  7   Mantilla and one of his assistants whose name is Orlando

  8   Alzate.

  9   Q     Who ordered these accounting ledgers to be created?

 10   A     I did.

 11   Q     Why?

 12   A     Because I needed to keep control of the shipments of

 13   cocaine, of the expenses, to then be able to know what was the

 14   net gain.

 15   Q     Did you keep accounting records of your expenses in

 16   addition to the Juanita drug shipments?

 17   A     Correct.

 18   Q     What did you call these accounting ledgers?

 19   A     The main accounting ledger.

 20   Q     What information did you order kept in these records?

 21   A     Everything that had to do with the expenses being made

 22   with the Juanitas, about the Juanitas and also other things

 23   that had to do with my organization.

 24   Q     Did you, did you order these main accounting ledgers to

 25   be created?



                     CMH      OCR      RMR       CRR      FCRR
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                                   15320

                           Ramirez - direct - Goldbarg                    1988


  1   A     Yes.

  2   Q     Did you review the ledgers for the Juanitas as well as

  3   the main accounting ledgers?

  4   A     Correct.

  5   Q     How frequently would you review these reports?

  6   A     Frequently during the week, you know, when it was

  7   necessary.

  8   Q     Did you review every single line item in these reports?

  9   A     Yes.

 10   Q     Did you ever make changes to these reports?

 11   A     Correct, yes, when it was necessary, because something

 12   came up unexpected.

 13   Q     Why was it important for you to review these reports?

 14   A     Because I wanted to keep track, to have control with all

 15   detail, with great detail of my money.

 16   Q     Now, Mr. Ramirez, does there come a time that you leave

 17   Colombia?

 18   A     Correct.

 19   Q     Approximately when was that?

 20   A     In 2004 approximately.

 21   Q     Do you remember when during the year?

 22   A     Before June.    April, May, after the extradition request

 23   from Washington came out because of RICO.

 24   Q     Did you continue to send cocaine -- I'm sorry.

 25                Where did you go when you left Colombia?



                     CMH      OCR      RMR       CRR      FCRR
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                                   15321

                           Ramirez - direct - Goldbarg                    1989


  1   A     First to Venezuela.

  2   Q     Did you continue to send cocaine shipments to the Sinaloa

  3   Cartel when you were in Venezuela?

  4   A     Correct.

  5   Q     While were you in Venezuela, who was running your

  6   organization?

  7   A     I did it completely myself.

  8   Q     How frequently would you talk to members of your

  9   organization?

 10   A     Constantly, the entire day, all the time.

 11   Q     Did you send any Juanita drug shipments while you were in

 12   Venezuela?

 13   A     Correct.

 14   Q     Which one?

 15   A     Juanita Siete, Juanita 7.

 16   Q     Did you see the reports that were created for Juanita 7?

 17   A     Of course.

 18   Q     How is that?

 19   A     I instructed my lieutenants in Venezuela to organize the

 20   job and I checked the accounting and the main accounting

 21   ledger and all the expenses that had to do with that shipment.

 22   Q     Mr. Ramirez, does there come a time that you leave

 23   Venezuela?

 24   A     Correct.

 25   Q     Where do you go?



                     CMH      OCR      RMR       CRR      FCRR
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                                   15322

                           Ramirez - direct - Goldbarg                    1990


  1   A     I went to Brazil.

  2   Q     While were you in Brazil, did you continue to send

  3   cocaine shipments to the Sinaloa Cartel?

  4   A     Correct.

  5   Q     While you were in Brazil, who was in charge of your drug

  6   trafficking organization?

  7   A     Me, totally me.

  8   Q     How were you able to send your shipments while you were

  9   in Brazil?

 10   A     Because I was directing the cocaine shipments with my

 11   lieutenants.     I was in permanent communication with them.         I

 12   had lieutenants in Venezuela, others, well, the ones I had in

 13   Colombia, and I was in permanent contact with them.

 14   Q     Did you create any records -- I'm sorry.

 15                Did you send any Juanitas while were you in Brazil?

 16   A     Yes.

 17   Q     Which ones?

 18   A     Juanita 8, 9 and 10.

 19   Q     Did you create any or did you have your organization

 20   create any accounting ledgers for Juanita 8, 9 and 10?

 21   A     Same as always with the ones before.

 22   Q     Did you see those ledgers for Juanita 8, 9 and 10 while

 23   you were in Brazil?

 24   A     Of course, yes.

 25   Q     How is that possible?



                     CMH      OCR      RMR       CRR      FCRR
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                                   15323

                           Ramirez - direct - Goldbarg                      1991


  1   A     Because it was sent to me, because they had people bring

  2   memory sticks, my lieutenants would send people.

  3               MS. GOLDBARG:       For the witness only -- actually, may

  4   I approach, Your Honor, since it's several pages?

  5               THE COURT:    Sure.

  6               MS. GOLDBARG:       Let me do this from the stand,

  7   Your Honor, to make it quicker.          Just for the witness.

  8   Q     Put your glasses on.

  9               I'm showing you 302A.         I'm going to go through these

 10   quickly.    302B, 302C, D, E, F, G, H.

 11               MR. PURPURA:       Your Honor, just to shortcut it, the

 12   defense will stipulate that, in fact, these ledgers accurately

 13   depict the ledgers that he's referring to that were prepared.

 14               THE COURT:    Okay.     Are you stipulating that they are

 15   admissible in evidence?

 16               MR. PURPURA:       We have no objection based on the

 17   foundation that was laid in court here today.

 18               THE COURT:    Okay.     They are received.      Just recite

 19   the total numbers, the first and last.

 20               MS. GOLDBARG:       Sure.    302I, 302J, 302K and 302L.    So

 21   the government would move without objection 302A through L

 22   into evidence.

 23               THE COURT:    Okay.     They are in.

 24               (Government Exhibits 302A through 302L so marked.)

 25               MS. GOLDBARG:       I'm going to put on the screen for



                     CMH       OCR       RMR       CRR     FCRR
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                            Ramirez - direct - Goldbarg                   1992


  1   the jury to see 302A.

  2   Q     Mr. Ramirez, what are we looking at here?

  3   A     These are the expenses for the Juanita 2 shipment.

  4   Q     According to this ledger on 302A, how many kilos of

  5   cocaine was in Juanita 2?

  6   A     6,000 kilos of cocaine.

  7   Q     According to this ledger, who had the responsibility to

  8   receive the cocaine at the high seas?

  9   A     So, the Beltran Leyvas through Olafo or Ofalto, my

 10   lieutenant Alvaro Palau.

 11   Q     I have an arrow here.      Is that where you say Olafo,

 12   O-L-A-F-O?

 13   A     Correct.

 14   Q     What is -- is that a code word?

 15   A     Yes.

 16   Q     What does that mean?

 17   A     It was the person from the Sinaloa Cartel Federation who

 18   was investing in the cocaine shipment I was sending to them in

 19   high sea.

 20   Q     And above that, there's a name.       There's a name.     What is

 21   that name?

 22   A     Yamile.

 23   Q     Who is that?

 24   A     That was me.    That was a code word for me.

 25   Q     So according to this, how much did you have invested in



                      CMH     OCR      RMR       CRR      FCRR
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                             Ramirez - direct - Goldbarg                  1993


  1   Juanita 2?

  2   A       3,000 kilos of cocaine.

  3   Q       And who were the investors, who were the Mexican

  4   investors in this cocaine shipment, Juanita 2?

  5   A       The Sinaloa Cartel or Federation people.

  6   Q       And who would that be at this time?

  7   A       Mr. Guzman Loera, Beltran Leyvas and Vicente Carrillo,

  8   Mayo Zambada and his brother Rey Zambada and Nacho Coronel.

  9   Q       Turn now to 302B.      According to 302B, how many kilos of

 10   cocaine were sent on Juanita 2?

 11   A       6,465 kilos of cocaine.

 12   Q       Let's zoom in a little.      See how many kilos it says

 13   there?

 14   A       I only see up to the column where it says, "Saldo."        I

 15   don't see all the way down.

 16   Q       If you look at the top.

 17   A       6,165 kilos.

 18   Q       I'm sorry.    This is Juanita 3?

 19   A       Yes.   On the top, it says 6,165 kilos, but on the bottom,

 20   it says that the total sent was 6,485 kilos of cocaine.

 21   Q       Why the difference between the top line and the bottom

 22   line?

 23   A       Because one of my lieutenants who we called El Broder

 24   invested 300 kilos of cocaine, he provided 300 kilos of

 25   cocaine in shipments.              (Continued on next page.)



                      CMH      OCR       RMR     CRR      FCRR
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                             Ramirez - direct - Goldbarg                  1994


  1   EXAMINATION CONTINUES

  2   BY MS. GOLDBARG:

  3   Q     According to this ledger, who was responsible for

  4   receiving this cocaine on behalf of The Sinaloa Cartel?

  5   A     Nacho Coronel.

  6   Q     How do you know that?

  7   A     Because of my lieutenants and because the N was a code

  8   word we used in the ledgers to refer to him.

  9   Q     Showing you what's now in evidence as Government

 10   Exhibit 604-C.

 11               (Exhibit published.)

 12   Q     This is Page 1.

 13               THE COURT:     304-C, right?

 14               MS. GOLDBARG:    Yes, sir.     Yes, Your Honor.

 15   Q     This is page 1 (published) and now I am showing you

 16   page 2 (published).

 17               According to this ledger, how many kilos of cocaine

 18   were sent on Juanita - 4?

 19   A     8,000 kilos of cocaine.

 20   Q     Can you circle where you see that?

 21   A     Correct.    (So marked.)

 22   Q     And according to this ledger, who was responsible for

 23   receiving the cocaine shipment at the high seas for The

 24   Sinaloa Cartel?

 25   A     Mr. Guzmán Loera.



                       SAM       OCR     RMR      CRR      RPR
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                               Ramirez - direct - Goldbarg                1995


  1   Q       How do you know that?

  2   A       Because S-H-A, Sha, that's how we refer to him,

  3   Mr. Guzmán Loera.

  4   Q       Can you circle --

  5   A       And my lieutenants.

  6   Q       I'm sorry.

  7                Can you circle where you see that?

  8   A       Correct.    (So marked.)

  9   Q       Could you read that off again, please?

 10   A       It says S-H-A, Sha, 3,000 kilos of cocaine.

 11   Q       Let me zoom in a little bit.       Is that first letter C or

 12   an S?

 13   A       C-H-A.

 14   Q       And what did C-H-A mean?

 15   A       That's a code word we used to refer to Mr. Guzmán Loera,

 16   like Chapo.      We only used Cha.

 17   Q       According to this ledger, how many kilos did The Sinaloa

 18   Cartel invest in Juanita - 4?

 19   A       They invested in 3,000 kilos of cocaine.

 20   Q       Of the total 8,000 investment?

 21   A       8,000 kilos of cocaine.

 22                THE COURT:      What do you want to do?

 23                MS. GOLDBARG:     I am close, but I don't know if I am

 24   close enough to wait.

 25                THE COURT:      All right, let's take our mid-afternoon



                         SAM       OCR     RMR     CRR       RPR
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                            Ramirez - direct - Goldbarg                   1996


  1   break, ladies and gentlemen.       We will come back at 3:30.      Do

  2   not talk about the case amongst yourselves.

  3               (Jury exits.)

  4               THE COURT:    Okay, 15 minutes.

  5               (Judge BRIAN M. COGAN exits the courtroom.)

  6               (Recess taken.)

  7               (In open court - jury not present.)

  8               (Witness resumes the stand.)

  9               THE COURTROOM DEPUTY:      All rise.

 10               (Judge BRIAN M. COGAN enters the courtroom.)

 11               (Defendant enters the courtroom.)

 12               THE COURT:    Okay, let's bring in the jury, please.

 13               (The jury enters the courtroom.)

 14               THE COURT:    All right, be seated.

 15               You may continue, Ms. Goldbarg.

 16               MS. GOLDBARG:    Thank you, Your Honor.

 17   DIRECT EXAMINATION (Continuing)

 18   BY MS. GOLDBARG:

 19   Q     Mr. Ramirez, before our break you testified that in 2004

 20   you went from Colombia to Venezuela.

 21               Do you recall that testimony?

 22   A     That's correct.

 23               (Pause.)

 24               THE COURT:    Okay.

 25   Q     Why did you leave Colombia and go to Venezuela?



                      SAM       OCR      RMR     CRR       RPR
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                            Ramirez - direct - Goldbarg                   1997


  1   A     Because the U.S. Government requested my extradition and

  2   they even offer a $5 million reward.        And the U.S. government

  3   and the Colombian government were doing everything possible to

  4   capture me.

  5   Q     How do you know this?

  6   A     Because I lived through it.        Because the U.S. Government

  7   requested my extradition.       They publish a picture of me with

  8   the reward of up to $5 million all over the country.

  9   Q     Prior to this did you have any information from your

 10   corrupt contacts about the U.S. investigation against you?

 11   A     Yes.

 12   Q     Did you ever make bribery payments directly to U.S. law

 13   enforcement officers?

 14   A     No.

 15   Q     Did you try?

 16   A     Yes.

 17   Q     How?

 18   A     To a group of the Colombian police, an elite group of the

 19   Colombian police who worked with the group named Siu, who

 20   worked for the U.S. Government embassy in Colombia in Bogota

 21   and along with the DEA agents assigned to said embassy.

 22   Q     But did any DEA agents receive your money directly that

 23   you're aware of?

 24   A     No, never.

 25   Q     Going back to Government Exhibit 302-C in evidence, these



                      SAM       OCR      RMR      CRR      RPR
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                             Ramirez - direct - Goldbarg                  1998


  1   are the ledgers for Juanita - 4.

  2                (Exhibit published.)

  3   Q     Now, you've testified previously that Juanita - 4 had to

  4   be sent back to Colombia because it had been aborted by the

  5   U.S. Coast Guard.

  6                Do you recall that?

  7   A     Correct.

  8   Q     Is there anything in the ledgers that are Juanita - 4

  9   that indicate this event?

 10   A     Yes.

 11   Q     Could you mark it, please?

 12   A     (So marked.)     Rental of new Juanita.

 13   Q     And if I'd ask you to read what you have in the

 14   observations column?

 15   A     Yes.

 16   Q     What does it say there?

 17   A     Juanita's unit was changed to $60.

 18   Q     What does that mean?

 19   A     That Juanita was changed means that the boat was changed

 20   and that brought an additional cost of $60 per kilo of cocaine

 21   that was transferred to the other ship.

 22   Q     You also testified, Mr. Ramirez, that you had accounting

 23   ledgers for the main accounting ledger for your organization?

 24   A     Correct.

 25   Q     Showing you what's in evidence as Government



                       SAM       OCR      RMR    CRR       RPR
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                             Ramirez - direct - Goldbarg                  1999


  1   Exhibit 302-J, do you recognize this document?

  2                (Exhibit published.)

  3   A     Yes.

  4   Q     What is it?

  5   A     It is an accounting from the book that we used to call

  6   the main accounting ledger.

  7   Q     Is there anything in here in this main accounting ledger

  8   referring to Juanita - 4?

  9   A     Correct, yes.

 10   Q     What is that?

 11   A     Up above it says:      Units pad are going out for Juanita -

 12   4.   Then it says transport for Juanita - 4 is also going out.

 13   And then it says, payment for Juanita - 4 for the cost of

 14   transportation.

 15   Q     And what does it say in the observation code for that

 16   last entry you just read?

 17   A     Juanita was changed due to safety reasons.

 18   Q     And also showing you what's in evidence as 302-K.

 19   A     Correct.

 20                MS. GOLDBARG:    Your Honor, I would like the record

 21   to reflect that 302-T was already submitted in evidence per

 22   the stipulation, which contains the English translation of

 23   these documents.

 24                THE COURT:    Okay.

 25   BY MS. GOLDBARG:



                       SAM       OCR      RMR    CRR       RPR
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                                   15332

                             Ramirez - direct - Goldbarg                  2000


  1   Q     And what is this document here, 302-K?

  2                (Exhibit published.)

  3   A     This is a document of the accounting from the main

  4   accounting ledger.

  5   Q     Do you see any reference here to Juanita - 4?

  6   A     Correct.

  7   Q     What does it say?

  8   A     50 percent payment Juanita - 4.

  9   Q     What does it say in the other columns?

 10   A     Next to it, it says:       Payment is made for 7,660 units.

 11   Then three other references to Juanita - 4 appear.          New

 12   reporters for the delay in the going out.

 13   Q     What is a reporter, Mr. Ramirez?

 14   A     Reporteros were the reports that we receive from the

 15   Colombian Navy for our corruption payments to them, which were

 16   informing us and giving us the navigational charts of where

 17   the American frigate would be on the Pacific Ocean.

 18   Q     Now, moving along to 302-D, Juanita-5.

 19                According to the ledger, how many kilos of cocaine

 20   were sent on Juanita-5?

 21                (Exhibit published.)

 22   A     10,000 kilos of cocaine.

 23   Q     And can you circle that, please?

 24   A     Yes.   (So marked.)

 25   Q     According to these ledgers, who within The Sinaloa Cartel



                       SAM       OCR      RMR    CRR       RPR
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                             Ramirez - direct - Goldbarg                  2001


  1   was responsible for receiving this cocaine at the high seas?

  2   A       The Beltran Leyvas through one of my lieutenants, Alvaro

  3   Palau, Olfato.

  4   Q       Can you circle where you see that name?

  5   A       (So marked.)

  6   Q       And above that name do you see Olmedo, what is that?

  7   A       That's me.    That's another code word to refer to myself.

  8   Q       Who were the investors from The Sinaloa Cartel in this

  9   cocaine shipment?

 10   A       Mr. Guzmán Loera, the Beltran Leyva brothers, Mr. Nacho

 11   Coronel, Mayo Zambada with his brother Rey Zambada, and

 12   Viceroy, Vicente Carrillo.

 13   Q       Moving along to Juanita - 6.

 14                (Exhibit published.)

 15                MS. GOLDBARG:     302-E, for the record.

 16   BY MS. GOLDBARG:

 17   Q       How many kilos of cocaine did you send to The Sinaloa

 18   Cartel in Juanita - 6?

 19   A       10,000 kilos of cocaine.

 20   Q       Can you mark where you see that?

 21   A       (So marked.)   Here.

 22   Q       According to the record for Juanita - 6, who was

 23   responsible for receiving the shipment of cocaine at the high

 24   seas?

 25   A       The Beltran Leyva brothers through my lieutenant, Olfato,



                      SAM        OCR      RMR    CRR       RPR
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                            Ramirez - direct - Goldbarg                   2002


  1   Alvaro Palau.

  2   Q     And how much did The Sinaloa Cartel invest in this

  3   cocaine shipment, Juanita - 6?

  4   A     2500 kilos of cocaine.

  5   Q     Who were the names that are underneath Olfato,

  6   O-L-F-A-T-O?

  7   A     Riascos, Broder, Alex, Don R.

  8   Q     Who are those people?

  9                MS. GOLDBARG:   Hold on, I'm sorry.      Is there a

 10   problem with the microphone?

 11                THE COURT:   Say something.

 12                MS. GOLDBARG:   Can we try that one more time, Your

 13   Honor?    Sorry.

 14                THE COURT:   Still?

 15                MS. GOLDBARG:   No.

 16                THE COURT:   Why don't you try turning it off and

 17   turning it on and see if that helps.

 18   BY MS. GOLDBARG:

 19   Q     Who are the people that are below Olfato's names, do they

 20   belong to your organization?

 21   A     Yes.

 22   Q     And who are the investors from The Sinaloa Cartel in this

 23   cocaine shipment?

 24   A     Mr. Guzmán Loera, the Beltran Leyva brothers, Mayo

 25   Zambada with his brother Rey Zambada, Nacho Coronel and



                      SAM       OCR      RMR     CRR       RPR
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                             Ramirez - direct - Goldbarg                  2003


  1   Vicente Carrillo.

  2   Q     Showing you now what's in evidence Government

  3   Exhibit 302-F.

  4                (Exhibit published.)

  5   Q     Juanita - 7, how many kilos of cocaine did you send to

  6   The Sinaloa Cartel in Juanita - 7?

  7   A     10,000 kilos of cocaine.

  8   Q     And according to this ledger, who was responsible for

  9   receiving the cocaine shipment for The Sinaloa Cartel?

 10   A     Nacho Coronel.

 11   Q     And how much did The Sinaloa Cartel invest in this

 12   cocaine shipment?

 13   A     2500 kilos of cocaine.

 14   Q     Who were the members of The Sinaloa Cartel that invested

 15   in this cocaine shipment?

 16                And let me ask this question:       Is it the same

 17   members of The Sinaloa Cartel you just said on the last three

 18   occasions?

 19   A     Correct.

 20   Q     Moving on to Juanita - 8.

 21                (Exhibit published.)

 22   BY MS. GOLDBARG:

 23   Q     According to Government Exhibit 302-G, the accounting for

 24   Juanita - 8, how many kilos of cocaine did you send to The

 25   Sinaloa Cartel on this cocaine shipment?



                       SAM       OCR      RMR    CRR       RPR
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                            Ramirez - direct - Goldbarg                   2004


  1   A     10,500 kilos of cocaine.

  2   Q     And who from The Sinaloa Cartel was responsible for

  3   receiving Juanita - 8?

  4   A     The Beltran Leyva brothers through my lieutenant, Alvaro

  5   Palau.

  6   Q     How do you know that from this ledger?

  7   A     Because of the accounting and because Orestes was the

  8   same Alvaro Palau.     That was another code word we used to

  9   refer to him.

 10   Q     Orestes, is that that name right there?

 11   A     Yes, Orestes.

 12   Q     And the name above Orestes Olmedo, who is that a

 13   reference to?

 14   A     That is me, that was a code word to refer to me.

 15

 16               (Continued on the following page.)

 17

 18

 19

 20

 21

 22

 23

 24

 25



                      SAM       OCR      RMR     CRR       RPR
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                                   15337

                           Ramirez - direct - Goldbarg                    2005


  1   DIRECT EXAMINATION

  2   BY MS. GOLDBARG:     (Continuing)

  3   Q       Going through Government Exhibit 302-H in evidence, which

  4   is the ledger for juanita nine, can you tell the jury how many

  5   kilos of cocaine you sent to the Sinaloa Cartel in juanita

  6   nine?

  7   A       12,000 kilos of cocaine.

  8   Q       According to this ledger, who was responsible within the

  9   Sinaloa Cartel of receiving this juanita nine cocaine

 10   shipment?

 11   A       Nacho Coronel.

 12   Q       And how do you know that?

 13   A       From the accountant, from my lieutenant, and because

 14   Nieto was a code word that we used to use to refer to Nacho

 15   Coronel.

 16   Q       Can you tell us where on the ledger it shows Nieto,

 17   N-I-E-T-O?

 18   A       Here.

 19   Q       According to this record, how many kilos of cocaine did

 20   the Sinaloa Cartel invest in in juanita nine?

 21   A       2,500 kilos of cocaine.

 22   Q       Lastly, going to juanita ten, Government Exhibit 302-I,

 23   according to this exhibit, accounting for juanita ten, how

 24   many kilos of cocaine did you send to the Sinaloa Cartel?

 25   A       3,200 kilos of cocaine.



                           MDL      RPR      CRR       CSR
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                           Ramirez - direct - Goldbarg                    2006


  1   Q     From this ledger, could you tell who was responsible for

  2   receiving this cocaine from the Sinaloa Cartel?

  3   A     I know it precisely.      Barco was my lieutenant who

  4   organized the logistics to receive the shipment.

  5   Q     Mr. Ramirez, let me ask you, did you turn these

  6   accounting ledgers over to the U.S. Government?

  7   A     No.

  8   Q     Now, you testified that juanita eight, nine, and ten were

  9   sent while you were in Brazil.       Do you recall that?

 10   A     Yes.

 11   Q     Did juanita one through ten make it successfully to

 12   Mexico?

 13   A     No.

 14   Q     How many successfully made it to Mexico?

 15   A     Seven juanitas.

 16   Q     What happened to the other three?

 17   A     They were seized.

 18   Q     How do you know that?

 19   A     Through my lieutenant and because I personally directed

 20   the shipment of that load of cocaine.        I was personally on top

 21   of it all the time.

 22   Q     What are the names of the three juanitas that were

 23   seized?

 24   A     Juanita eight, juanita nine, and juanita ten.

 25   Q     When was juanita eight seized?



                           MDL      RPR      CRR       CSR
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                           Ramirez - direct - Goldbarg                    2007


  1   A     September 2004, approximately.

  2   Q     Do you remember when juanita nine was seized?

  3   A     Yes.

  4   Q     When was that?

  5   A     Also approximately September 2004.

  6   Q     How do you remember this so clearly?

  7   A     Because that's a tragedy for me as a drug trafficker

  8   because in my entire history as a drug trafficker, I had never

  9   had two ships seized by the American authorities, that had

 10   never happened to me.

 11   Q     How many kilos total were there in juanita eight and

 12   juanita nine?

 13   A     22,500 kilos of cocaine.

 14   Q     Who were the investors of the Sinaloa Cartel of those two

 15   2,500 kilos of cocaine?

 16   A     Mr. Guzmán Loera, Beltran Leyva, Nacho Coronel, Mayo and

 17   Ray Zambada, and Vicente Carrillo, Viceroy.

 18   Q     What kind of shipping vessels were these?

 19   A     Shipping vessels.     I'm sorry, they were white shipping

 20   vessels.

 21   Q     Do you know where the cocaine was found aboard the ships?

 22   A     Not exactly, but it was stored in a secret compartment in

 23   the structure of the ships.

 24   Q     Now, looking briefly at juanita eight, according to this

 25   ledger, what did you put on juanita eight, and this is 302-G



                           MDL      RPR      CRR       CSR
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                             Ramirez - direct - Goldbarg                  2008


  1   for the record?

  2   A       What do you mean?    I didn't understand the question.       Can

  3   you repeat the question.

  4   Q       According to this ledger, did you place anything on the

  5   boat?

  6                   It says the word "hielo" right there, H-I-E-L-O?

  7   A       Okay.

  8   Q       Why did you put -- what is that?

  9   A       That's two tons of ice that we placed in the boat's ice

 10   chests for the catch that had been caught supposedly by the

 11   boat.

 12   Q       Would you occasionally put fish on the boats as well?

 13   A       Yes, of course.

 14   Q       What kind of fish?

 15   A       White fish, sharks.

 16   Q       Now, as a result of the seizures of juanita eight and

 17   juanita nine, did you change of any of the methods of

 18   transporting cocaine to the Sinaloa Cartel?

 19   A       Yes.

 20   Q       What did you do?

 21   A       Well, it occurred to me or I gave instructions to my

 22   lieutenants of building submarines.

 23   Q       What do you mean by a submarine?

 24   A       A submarine is a vessel that submerges a few meters under

 25   the water, that way it could cross the Pacific Ocean and avoid



                             MDL     RPR     CRR       CSR
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                           Ramirez - direct - Goldbarg                    2009


  1   being detected by American frigate boats and by the American

  2   airplanes that are patrolling the Pacific Ocean, and when they

  3   see a suspicion fishing vessel, they board it.          So we did this

  4   to avoid that because we had lost two shipments in those two

  5   previous fishing vessels.

  6   Q     Did you send a submarine to the Sinaloa Cartel?

  7   A     In January, February, 2005, approximately, I sent the

  8   first submarine.

  9   Q     And what was the name of the shipment?

 10   A     Juanita ten.

 11   Q     Showing you again 302-I, is the accounting ledger for the

 12   first submarine you sent to the Sinaloa Cartel?

 13   A     Correct.

 14   Q     Did this submarine make it successfully to the Sinaloa

 15   Cartel?

 16   A     No.

 17   Q     What happened?

 18   A     It was also seized in the Pacific.

 19   Q     Was this the only time you attempted to send a submarine

 20   to the Sinaloa Cartel?

 21   A     No.

 22   Q     Did you send more submarines to the Sinaloa Cartel?

 23   A     Correct.

 24   Q     How many more submarines did you send to the Sinaloa

 25   Cartel?



                           MDL      RPR      CRR       CSR
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                           Ramirez - direct - Goldbarg                    2010


  1   A     Approximately eight to ten additional submarines.

  2   Q     How many kilos of cocaine on average did you ship on

  3   these submarine shipments?

  4   A     Normally between 4,000 and 5,000 kilos of cocaine.

  5   Q     These additional submarines that you sent after juanita

  6   10 was seized, did they all make it successfully to the

  7   Sinaloa Cartel in Mexico?

  8   A     That's correct.

  9   Q     Did you start sending cocaine any other way to the

 10   Sinaloa Cartel in addition to the submarines?

 11   A     Yes.

 12   Q     How else did you start sending cocaine to the Sinaloa

 13   Cartel?

 14   A     We were also using small aircraft, piston planes to

 15   Central America.

 16   Q     Did you have a code word for the small airplanes?

 17   A     Correct.

 18   Q     What was that code word?

 19   A     Cometas.

 20                THE INTERPRETER:    C-O-M-E-T-A-S, by interpreter.

 21   Q     Showing you what's in evidence as Government Exhibit

 22   302-L.    What is this document?

 23   A     It's the main ledgers accounting.

 24   Q     Do you see anything in here related to the cometa?

 25   A     Correct.



                           MDL      RPR      CRR       CSR
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                           Ramirez - direct - Goldbarg                    2011


  1   Q     Where is that?

  2   A     Here.

  3   Q     And what does it say there?

  4   A     It says 50 percent payment transport cometa four.

  5   Q     Can you read the line above that, please, as well?

  6   A     Payment manufacturing 800 units cometa four.

  7   Q     What does that mean to you?

  8   A     800 kilos of cocaine that we had made because those were

  9   the 800 kilos that we sent on that airplane.

 10   Q     And who were these cometas going to?

 11   A     Central America, Guatemala.

 12   Q     And who was receiving them?

 13   A     The Sinaloa Cartel people.

 14   Q     Do you know approximately how many planes of cocaine you

 15   sent to the Sinaloa Cartel during this timeframe?

 16   A     Yes.

 17   Q     Approximately how many?

 18   A     Approximately 10 airplanes.

 19   Q     What was the average quantity of cocaine per airplane?

 20   A     600 to 800 kilos of cocaine.

 21   Q     Did these 10 planes make it successfully to the Sinaloa

 22   Cartel?

 23   A     Not all of them.

 24   Q     Who was your lieutenant in charge of the airplanes, the

 25   cometas?



                           MDL      RPR      CRR       CSR
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                           Ramirez - direct - Goldbarg                    2012


  1   A     Sophia, and another person we called Victor.

  2   Q     Now, during this time that you are sending the juanita

  3   cocaine shipments to the Sinaloa Cartel in Mexico, do you know

  4   where these drugs are being sold?

  5   A     Correct.

  6   Q     How do you know this?

  7   A     Through my lieutenants and picking up the money for the

  8   cometas, for the airplanes that we were sending.

  9               (Continued on next page.)

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                           MDL      RPR      CRR       CSR
Case 1:09-cr-00466-BMC-RLM Document 654 Filed 07/31/19 Page 138 of 145 PageID #:
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                             Ramirez - direct - Goldbarg                  2013


  1   BY MS. GOLDBARG:       (Continuing)

  2   Q     Where was the Sinaloa Cartel sending the cocaine that

  3   they were receiving on the cometas?

  4   A     To the United States.

  5   Q     Now, you mentioned earlier that there were various

  6   methods of transportation you learned about including trains.

  7   Did you have any specific conversations with any of your

  8   lieutenants about the transportation of your cocaine via

  9   train?

 10   A     Correct.

 11   Q     How did this conversation come up?

 12   A     Because there had been a delay in paying me money for the

 13   cocaine I had sent to the Sinaloa Cartel, to the Federation.

 14   So I spoke to my lieutenant, well, to two of my lieutenants,

 15   and I said, what's happening, why is there a delay with my

 16   money.    And they said it was because the Sinaloa Cartel people

 17   had had a cocaine seizure in the U.S. and it had been

 18   transported by train.

 19   Q     Did your lieutenants tell you where that train seizure

 20   occurred in the United States?

 21   A     They said the seizure had been in New York.

 22   Q     Did your lieutenants tell you what type of trains were

 23   being used for the shipment of cocaine?

 24   A     Correct.

 25   Q     What did they tell you?



                       SAM       OCR        RMR   CRR      RPR
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                                                                          2014


  1   A      They were cargo trains that were transporting vegetable

  2   oil.

  3   Q      Do you know who from the Sinaloa Cartel was responsible

  4   for sending cocaine via trains?

  5   A      Correct, yes.

  6   Q      Who was that?

  7   A      El Futbolista or Tirso.

  8   Q      Is Tirso a first or last name?

  9   A      Tirso is his name.

 10   Q      Do you know Tirso's last name?

 11   A      I think it's Martinez.

 12   Q      El Futbolista, is that his alias?

 13   A      Correct.

 14   Q      Did you ever meet Tirso Martinez?

 15   A      Correct, yes.

 16   Q      When did you meet Tirso Martinez?

 17   A      Approximately sometime between 1990 and 1992.

 18   Q      Where did you meet Tirso Martinez?

 19   A      In Juarez.

 20   Q      Who was with Tirso Martinez when you met him?

 21   A      Amado Carrillo Fuentes.

 22   Q      Did you hear anything else about this cocaine shipment

 23   that was seized in trains in New York?

 24   A      Yes.

 25   Q      What did you hear?



                     CMH      OCR      RMR       CRR      FCRR
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                                                                          2015


  1   A     Well, my lieutenants told me that Tirso had told the

  2   Sinaloa Cartel people that their transportation was so good,

  3   it was so effective, that it was lost, that he would pay

  4   $20,000 per kilo of cocaine, and they had had a problem with

  5   Mayo Zambada because of this situation.

  6   Q     What was the problem with Mayo Zambada?

  7   A     Mayo Zambada demanded he pay it at $20,000 per kilo as he

  8   had said he would.

  9   Q     Did you get paid for your cocaine?

 10   A     Yes.

 11   Q     Now, just to clarify, when was the first time you met

 12   Tirso Martinez?

 13   A     Approximately around 1990, 1991.

 14   Q     And was it at that time that he was with Amado Carrillo?

 15   A     Correct.

 16                MS. GOLDBARG:      Can I have one moment, Your Honor?

 17                THE COURT:    Yes.

 18                (Pause.)

 19   Q     Mr. Ramirez, the train seizure that your lieutenants told

 20   you happened in New York, do you recall approximately when

 21   this was?

 22   A     Yes, around 2003.

 23   Q     Mr. Ramirez, did you ever leave Brazil?

 24   A     Never.

 25   Q     Why not?



                     CMH        OCR      RMR     CRR      FCRR
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                                                                          2016


  1   A     Because I was arrested.

  2               MS. GOLDBARG:     Your Honor, the government has no

  3   more questions.

  4               (Continued on next page.)

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                     CMH      OCR      RMR       CRR      FCRR
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                                                                           2017


  1                THE COURT:    All right.     Ladies and gentlemen, we

  2   will resume with cross tomorrow morning, but one thing I

  3   wanted to tell you is you may hear that a national day of

  4   mourning for former President Bush has been declared for

  5   Wednesday.    Some court functions are being suspended, but we

  6   will continue.       I think it is important that we continue and I

  7   will leave it to you to observe however you want to observe

  8   after we are done with court on that day.         So if you hear that

  9   the court is closed, we will all still be here working.

 10                Other than that, please remember, stay away from

 11   media coverage, do not communicate with anyone about this

 12   case, not by social media, verbally, snail mail or anything

 13   else, and we will see you tomorrow morning at 9:30.           Thank you

 14   for your hard work.

 15                (Jury exits.)

 16                THE COURT:    Anything else we need to cover?

 17                MR. ROBOTTI:       Judge, just one housekeeping issue.

 18                THE COURT:    Everyone sit down, please.

 19                MR. ROBOTTI:       The government just wanted to move

 20   into evidence 3500MAMM-9A, 3500MAMM-10A and 3500MAMM-14A.

 21   These are the excerpts from the transcripts of Mr. Martinez's

 22   previous testimony that we cited during our redirect of

 23   Mr. Martinez on Thursday.         I don't believe defense has any

 24   objection.

 25                MR. PURPURA:       No objection.



                     CMH        OCR       RMR     CRR     FCRR
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                                                                          2018


  1               THE COURT:    Those are received.

  2               (So marked.)

  3               Anything else?

  4               MR. ROBOTTI:       Nothing from the government.

  5               THE COURT:    Okay.     Have a good night.     I will see

  6   you at 9:30.

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  8               (Matter adjourned to December 4, 2018 at 9:30 a.m.)

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                     CMH       OCR       RMR      CRR     FCRR
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                                                                           2019


  1                                   I N D E X

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  3   WITNESS                                                      PAGE

  4

  5       JUAN CARLOS RAMIREZ ABADIA

  6             DIRECT EXAMINATION CONTINUED

  7                    BY MS. GOLDBARG                              1879

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                      SAM       OCR      RMR      CRR      RPR
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                                                                          2020


  1                               E X H I B I T S

  2

  3

  4        Government's Exhibit 504-6                                1926

  5

  6        Government's Exhibit 504                                  1927

  7

  8        Government's Exhibit 80                                   1955

  9

 10        Government's Exhibit 90                                   1957

 11

 12        Government's Exhibit 510-2                                1970

 13

 14        Government's Exhibit 510-3                                1972

 15

 16        Government Exhibits 302A through 302L                     1991

 17

 18        3500MAMM-9A                                               2017

 19

 20        3500MAMM-10A                                              2017

 21

 22        3500MAMM-14A                                              2017

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                      SAM       OCR      RMR     CRR       RPR
